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   1                         UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
   2
                          CASE NO. 18-24737-CV-SMITH/LOUIS
   3
        EILEEN M. LEDET,
   4                                             Miami, Florida
                          Plaintiff(s),
   5                                             September 10, 2019
                    vs.
   6
        CARNIVAL CORPORATION,
   7    a Panamanian corporation,

   8                      Defendant(s).

   9    -----------------------------------------------------------

  10                            EVIDENTIARY HEARING
                    BEFORE THE HONORABLE LAUREN FLEISCHER LOUIS
  11                      UNITED STATES MAGISTRATE JUDGE

  12    APPEARANCES:

  13    FOR THE PLAINTIFF(S):      Philip M. Gerson, Esquire
                                   Nicholas I. Gerson, Esquire
  14                               Gerson & Schwartz, PA
                                   1980 Coral Way
  15                               Miami, Florida 33145

  16

  17    FOR THE DEFENDANT(S):      Scott P. Mebane, Esquire
                                   Caroline Milewski, Esquire
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  21

  22    REPORTED BY:               Tammy Nestor, RMR, CRR
                                   Official Court Reporter
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   1                                    I-N-D-E-X

   2
        WITNESS                       DIRECT    CROSS     REDIRECT    RECROSS
   3

   4    MONICA BORCEGUE

   5        BY MR. PHILIP GERSON         56

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   1    Thereupon,

   2    the following proceedings began at 1:33 p.m.:
   3               THE COURT:    Good afternoon.     You can be seated.

   4               THE COURTROOM DEPUTY:      Calling case

   5    No. 18-24737-Civil, Judge Smith.         Eileen Ledet versus Carnival

   6    Corporation.

   7               Counsel, would you please note your appearances for

   8    the record.

   9               MR. PHILIP GERSON:     Philip Gerson and Nicholas Gerson

  10    for the plaintiff.

  11               THE COURT:    Good afternoon.

  12               MR. MEBANE:    Good afternoon, Judge.      Scott Mebane and

  13    Caroline Milewski on behalf of Carnival.

  14               THE COURT:    Good afternoon.     We are here on

  15    plaintiff's motion for sanctions.        If I saw right, it looks

  16    like Judge Smith just continued your trial until October.             Did

  17    I read that right today?

  18               MR. PHILIP GERSON:     Yes.   It's only a two-week delay.

  19               THE COURT:    I saw that and I thought, I wonder how

  20    long he thinks we need for this motion.

  21               I know that you had each filed some notices.          Let me

  22    start, Mr. Gerson, by asking whether -- we intended, or

  23    anticipated rather, that this would be an evidentiary hearing,

  24    and we have a court reporter here for that reason.           Are you

  25    calling witnesses?
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   1               MR. PHILIP GERSON:     No, we are not calling witnesses.

   2    But we are happy to have a court reporter and would like to

   3    order a copy of the transcript.

   4               THE COURT:    I'm sure she's happy to oblige.        I'll let

   5    you check in with her after the hearing about timing.

   6               Is there an evidentiary portion of your presentation?

   7    I ask so we know how to structure it.         If there is going to be

   8    evidence, I would ask you to give me an opening, ask your

   9    opposing counsel to respond if they want before you present

  10    evidence, and move into the evidentiary portion.

  11               MR. PHILIP GERSON:     We are not going to call any

  12    witnesses to testify.      We have submitted the file materials

  13    which include quite a bit of sworn testimony that's been taken

  14    in the case as well as documents that have been produced.             So

  15    everything that we reference during our presentation is in the

  16    record.

  17               THE COURT:    Okay.   Then let me turn to Mr. Mebane.

  18               MR. MEBANE:    Mebane, Your Honor.

  19               THE COURT:    Mr. Mebane, are you planning to present

  20    evidence?

  21               MR. MEBANE:    Your Honor, we filed this morning an

  22    affidavit of Monica Borcegue for the Court.          If I'm to explain

  23    further, because it was noticed as an evidentiary hearing, so

  24    the history of the bathroom logs and what was done to find the

  25    bathroom logs.     Ms. Borceque is here.      If the Court has any
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   1    questions of Ms. Borceque, she's present in the courtroom.             We

   2    don't plan on the necessity of calling her, however, because we

   3    believe the affidavit speaks for itself.

   4               THE COURT:    Okay.    Well, I was not able to review the

   5    affidavit.    I saw that you filed a notice.        But I have been

   6    indisposed so far today so --

   7               MR. MEBANE:    Our apologies, Judge, for filing this so

   8    close to the hearing.      This is information that we got

   9    basically only yesterday afternoon.

  10               THE COURT:    Okay.    I'm actually -- I'm looking at the

  11    docket, and it's not even -- I know that I saw you filed it,

  12    but it's not docketed or showing up on my docket right now.

  13               MR. MEBANE:    I have a hard copy if Your Honor would

  14    like to see that if that would be of assistance.

  15               THE COURT:    No.   It just needed to refresh.

  16               MR. MEBANE:    Okay.

  17               THE COURT:    I don't want to make you wait for me.         Let

  18    me ask you, Mr. Gerson, it is your motion.          Let me hand the

  19    baton to you to present your argument as you would like with

  20    respect to -- well, sorry, this is not your first time in front

  21    of me, so I know you know that I have questions.           I come

  22    bearing questions.

  23               I see in your motion that you are precluded from -- I

  24    think I'm actually going to ask the witness to step out during

  25    this portion in the event that we do ask for your testimony.
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   1    Thank you.

   2               Okay.   Mr. Gerson, I see in the motion that the proper

   3    use of the log would be to affirm or impeach the anticipated

   4    testimony of the corporate representative witness who, at least

   5    according to the motion, you anticipated would testify that the

   6    witness who just left the room found the bathroom in a dry

   7    state.

   8               Do I understand correctly that that is the plaintiff's

   9    proffered use of the document?

  10               MR. PHILIP GERSON:     No, it's not anticipated

  11    testimony.    It's record testimony.      The corporate rep has given

  12    three depositions in this case, so we have it all under oath

  13    already.

  14               THE COURT:    Right.   I'm sorry.    Let me clarify.     The

  15    question wasn't so much what she had said at deposition as much

  16    as, as I understood it, if called to testify at trial, the

  17    corporate representative would say that she was told by -- I

  18    don't know how to pronounce our witness's last name, but the

  19    first hand knowledge person went into the bathroom, found it

  20    dry, and told the corporate rep that, and the corporate rep

  21    testified that she had been told it was dry.

  22               MR. PHILIP GERSON:     No, that's not really it.       What

  23    it's about today is the assertion that was made under oath by

  24    the corporate rep numerous times, many, many times, that there

  25    were 15-minute bathroom checks made on this particular bathroom
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   1    and that there were written records kept of those checks and

   2    then that the records were destroyed.         So we asked for a jury

   3    instruction on spoliation of evidence in our motion.

   4               It might be helpful if I could give you the

   5    30,000-foot overview of this case because it's not really a

   6    dispute about whether it was wet at the time.          I don't think

   7    anybody really challenges that.

   8               It was -- so let me just say Ms. Ledet was a passenger

   9    on the ship on March 29, 2018.        She slips and falls in one of

  10    the ladies' public bathrooms on deck 4 or 5 of the ship.            She's

  11    seriously injured.      She has a badly fractured leg which results

  12    in surgery once she returns home, and she winds up with a leg

  13    length discrepancy and a permanent limp that she'll have for

  14    the rest of her life.

  15               So there's water on the floor.       It's not a few drops

  16    of water.    It's a large area of water.       And so when we get into

  17    discovery after quite a bit of back and forth, finally we get

  18    records from Carnival that show that less than two months

  19    before, there was a report by a plumber --

  20               THE COURT:    Mr. Gerson, the junior, your microphone is

  21    always on.    Sorry.    It's hard to hear one or the other.        Thank

  22    you.

  23               MR. PHILIP GERSON:     On February 2, 2018, the Carnival

  24    document says the ladies' bathroom floor on this deck is always

  25    wet.   And the plumber is dispatched to find the source of the
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   1    problem and to fix it.      And he's unable to do so, and he says

   2    he can't find the answer.

   3               Two days later, a similar work request is made with

   4    the same complaint, that the floor of this public bathroom is

   5    always wet.    And a plumber is dispatched, and the answer is

   6    essentially the same, he can't find the leak.          But he says in

   7    his record that there is a leak, but he can't find it.

   8               Now, what did Carnival do about that?         Did they take

   9    further steps in February of 2018 before my client came on this

  10    cruise in March of 2018 to find the leak and fix it?            No, they

  11    didn't.    Did they close off the bathroom so as to make it safe?

  12    No, they didn't.     Did they provide special warnings to

  13    passengers who would be using the public bathroom?           No, they

  14    didn't.    What they did really was nothing.

  15               So my client is using the bathroom.        I believe it's

  16    near the end of the voyage.       And she slips and falls and she

  17    suffers this serious injury.

  18               The next day, Carnival sends plumbers to inspect this

  19    scene again.     And at that time, the plumbers find that the

  20    floor is wet, not just a few drops of water, but a considerable

  21    amount of water over a large area.

  22               So we have it bracketed both before and after this

  23    incident, and they did nothing to protect people from this

  24    danger.

  25               So Carnival's position in the case is they say, well,
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   1    we inspected it on the day of the accident and we have a

   2    statement from the housekeeper and we have a statement from a

   3    supervisor on the ship.       And our inspection indicated that it

   4    was dry at the time that they looked at it.          However, they tell

   5    us that, we are not negligent here.         There's no notice to us of

   6    any problem because we have this bathroom checked for water on

   7    the floor every 15 minutes, and there's a written record made

   8    of that.

   9               Well, there's some shenanigans going on, quite

  10    frankly, because we take the corporate rep's deposition.            And

  11    at the corporate rep's deposition, the corporate rep

  12    misrepresents what the statement was from the plumber who had

  13    responded to this issue on behalf of Carnival on the day after

  14    the incident.     And we are before Magistrate O'Sullivan before

  15    this case was transferred to Judge Smith, and Magistrate

  16    O'Sullivan enters a written order sanctioning Carnival for

  17    misrepresenting what was in that statement.          And it was also --

  18    he had found also that there was a misrepresentation of the

  19    interrogatory answers.

  20               And so he says in his order on May 31, ordered and

  21    adjudged that the undersigned finds that the statement of the

  22    assistant plumber made on the day following the incident in

  23    question that he saw some water on the floor of the subject

  24    bathroom is contradictory to the corporate representative's

  25    testimony that there were not any statements regarding water on
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    1    the floor as well as the defendant's response to interrogatory

    2    No. 5 where there was an omission of information that the

    3    assistant plumber saw water on the floor of the subject

    4    bathroom.

    5              And Judge O'Sullivan also ordered a monetary sanction

    6    and he ordered that the corporate representative give another

    7    deposition.    And at the other deposition, essentially the same

    8    testimony was given.

    9              Now, there were three depositions of Ms. Borcegue, the

   10    lady who I believe just stepped out of the courtroom.          There

   11    was one on April 10.     She complained that she didn't feel well

   12    during the heated moments of that deposition, and so it was

   13    recessed.   And she came back, and it was continued on April 11.

   14    And then based on the magistrate's order, there was a third

   15    setting of the deposition on June 5, 2019.

   16              This corporate representative said Ms. Geronimo, who

   17    was the housekeeper in charge, checked this bathroom every 10

   18    to 15 minutes.    And this is at page 76.

   19              THE COURT:    Mr. Gerson, there are no exhibits that

   20    were filed by either party either in support of or in

   21    opposition to the motion.      So any deposition transcript on

   22    which you are relying, I have not seen.

   23              MR. PHILIP GERSON:     I was told by the paralegal that

   24    that was done, so I don't know what the remedy is at this

   25    point.   I am prepared to go forward and represent what's in the
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    1    record.   I can give page and line to the defense, but I realize

    2    that the Court would want to have the depositions themselves.

    3              THE COURT:    Do you not have the depositions?

    4              MR. PHILIP GERSON:     I have a part of one of them, but

    5    I don't have the -- I have portions of them.         I have the

    6    portions that I'm going to cite that I could provide to the

    7    Court right now, but I don't have the whole deposition to file

    8    because, as I just said, it was my understanding that this had

    9    all been done.

   10              Perhaps I can make representations about what's in

   11    this record, and then we can submit the depositions after the

   12    end of the hearing later in the afternoon.

   13              THE COURT:    Well, the deposition can still be admitted

   14    as a hearing exhibit under the same rules and standards that

   15    any other exhibit -- I'm not discounting counsel's right to

   16    object.   I'm just saying that if they are admitted, then under

   17    local Rule 53, you file them after the hearing and that's fine.

   18    But I just don't have the benefit of seeing what it is you are

   19    looking at.

   20              I would suggest at a minimum that, as you are

   21    reviewing them, you show to opposing counsel the pages that you

   22    are referring to.     And if you have extra so that I can read

   23    along with you, that's helpful.       If we need to stop and make

   24    copies so that we are all on the same page in looking at it, I

   25    don't know how much of your argument is going to be driven by
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    1    those exhibits, so I don't know whether or not it yet makes

    2    sense to stop to make the copies.       We can see as we go?

    3              MR. PHILIP GERSON:     I can give the Court excerpts, the

    4    excerpts that I'm going to refer to.

    5              THE COURT:    Just make sure defense counsel sees it

    6    first, what you are giving me, before you do.

    7              MR. PHILIP GERSON:     Your Honor, by the way, the

    8    portions of the testimony to which I am going to refer are all

    9    cited in our motion by page.

   10              THE COURT:    Okay.   I notice both pleadings had lengthy

   11    citations, but I couldn't look at it so...

   12              Mr. Gerson, for purposes of the hearing, I am going to

   13    treat this as your Exhibit 1 and ask -- that's going to be

   14    different than the deposition transcript that was filed in

   15    April of this year because you said -- no, it looks like it

   16    could be the same.

   17              MR. PHILIP GERSON:     No, it is the same transcript.

   18              THE COURT:    It's attached to another docket entry.        I

   19    don't know if it's the entire transcript.        Let me just look.

   20    I'm looking at docket entry No. 37 which was filed on April 25.

   21    It's the deposition of Monica Petisco from April 10, 2019.           Is

   22    that what you have handed me, Mr. Gerson?

   23              MR. PHILIP GERSON:     Yes, ma'am.

   24              THE COURT:    Okay.   Well, in that case, I do have it on

   25    the docket.    I just have it at a different docket entry.
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    1               MR. PHILIP GERSON:    Okay.

    2               THE COURT:    Okay.

    3               MR. PHILIP GERSON:    So Ms. Petisco -- and she's

    4    changed her name.     Apparently her marital status changed, and

    5    now she goes by Borcegue, I believe.

    6               MR. MEBANE:   Borcegue?

    7               MR. PHILIP GERSON:    Borcegue.    So I'm pointing that

    8    out just so that we understand that's the same person.

    9               THE COURT:    Thank you.

   10               MR. PHILIP GERSON:    So in the April 10 deposition,

   11    before the sanctions from the magistrate, at page 76, line 9,

   12    she says that her answers to interrogatories do say that the

   13    bathroom was checked by a Ms. Geronimo, one of their

   14    housekeepers, every 10 to 15 minutes.

   15               At line 22 of page 76, she says, I believe there are

   16    logs kept.    We don't have them any longer.       We do have logs.

   17    They keep a log of every check in the bathroom.

   18               At page 77, line 8, she says, quote, there is a record

   19    used by Ms. Geronimo.

   20               At page 77, line 19, she said, I did request the logs.

   21               At page 79, line 3, she says, quote, they exist and

   22    they were requested.

   23               At page 79, line 16, she says Carnival's position in

   24    this case is that the bathroom was checked every 10 to 15

   25    minutes.
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    1               At page 79, line 23 --

    2               THE COURT:   Actually, let me stop you there because

    3    this remains my difficulty, is how you intend to use the logs

    4    if they were produced to you today.

    5               So her sworn testimony is Carnival has no way to

    6    verify whether or not the bathroom was actually checked every

    7    10 to 15 minutes.     I know she answered we no longer have that

    8    log, no.    So it's the sworn position of the defendant that they

    9    cannot verify that the bathroom was, in fact, checked every 15

   10    minutes.    Isn't that -- I don't understand why that isn't the

   11    best case scenario for you from an evidentiary standpoint and

   12    what further having the log in hand would show.

   13               MR. PHILIP GERSON:    It would -- well, what the motion

   14    is about is spoliation of evidence.

   15               THE COURT:   But one of the elements of spoliation is

   16    cruciality.    This is not an electronic document.        So in order

   17    to prevail in your motion, you have to show, and this is the

   18    question that really I was leading with 20 minutes ago, that

   19    this is a document that you would rely on to prove an element

   20    of your case.    What element is that?

   21               MR. PHILIP GERSON:    It's the notice element that they

   22    didn't check every 15 minutes.       There's another part of the

   23    case which is pending in another motion not set for today where

   24    we sent an investigator on this ship.

   25               THE COURT:   I read it.
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    1              MR. PHILIP GERSON:     And the investigator reports they

    2    don't check this bathroom every 15 minutes or anything even

    3    close to that.    And we have documented that with film and with

    4    video.   And we intend at trial to present the testimony of the

    5    investigator to corroborate that fact.

    6              If they had the logs and if they gave us the logs,

    7    then we would see from the logs that the position that the

    8    corporate representative took in her sworn testimony that we

    9    are checking every 10 or 15 minutes is simply not true.

   10              THE COURT:    That as a matter of policy, they are

   11    checking every 10 to 15, but her sworn testimony in this case

   12    is also that she can't say that they checked it 15 minutes

   13    before your plaintiff's fall.

   14              MR. PHILIP GERSON:     No.   She says that these logs will

   15    show every time that it was checked.        And we would be able to

   16    show if we had those logs that that's simply not true because

   17    of the chronicity of this problem and because of the

   18    corroborating evidence that we obtained when we sent the

   19    investigator on the ship to actually observe what their real

   20    checking processes were.

   21              THE COURT:    Right.

   22              MR. PHILIP GERSON:     And they are not what Carnival

   23    says in their testimony.      The corporate rep didn't hedge.       The

   24    corporate rep said this is our position.        We check this

   25    bathroom every 15 minutes, and we have written proof of the
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    1    fact that we did it.     So we have been chasing that written

    2    proof for months and months.

    3               THE COURT:   Show me the testimony where she says we

    4    have written proof that they checked this bathroom every 15

    5    minutes.

    6               MR. PHILIP GERSON:    It starts on page 79.

    7               THE COURT:   Well, I'm looking at 79, and her testimony

    8    is that she agrees with you that Carnival has no way to verify

    9    whether or not the bathroom was actually checked every 15

   10    minutes.    This is why I'm confused, Mr. Gerson, with respect to

   11    your motion, because it's two fold.        First, in order to prevail

   12    in your motion, you have to show that the document existed and

   13    it doesn't anymore.

   14               So if we assume that there was a bathroom log for this

   15    bathroom that would record or that Ms. Geronimo was required to

   16    record when she checked it in 15-minute intervals and it

   17    doesn't exist anymore, you also have to show that you would use

   18    that document materially in your case.        But in order for you to

   19    prevail, wouldn't we have to either assume or know that what

   20    was contained in the destroyed log was, in fact, helpful to

   21    your position on notice?

   22               MR. PHILIP GERSON:    Yes, but it's also a credibility

   23    issue, Judge.    I mean, they are going to tell the jury, we

   24    check this bathroom every 15 minutes and we write it down to

   25    document it.
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    1              So now with three corporate rep depositions with

    2    sanctions entered by the previous magistrate, until today, we

    3    are not told that there are no such logs.

    4              THE COURT:    Mr. Gerson, on that note, again, you keep

    5    saying Judge O'Sullivan sanctioned them.        But I'm looking at

    6    the order, and it says other sanctions are not awarded.           He

    7    just gave fees in the form of attorneys fees.

    8              MR. NICHOLAS GERSON:      Docket entry 46.

    9              MR. PHILIP GERSON:      Yeah, it's docket entry 46.      I

   10    have a copy of the order.       It's a two-page order.     I'm happy to

   11    show my copy to the Court.

   12              THE COURT:    Okay.    But do you understand the question

   13    that I am asking is, if the log existed and it showed that

   14    Ms. Geronimo initialed it every 15 minutes, how would you use

   15    it in your case?

   16              MR. PHILIP GERSON:      I probably wouldn't.     But if the

   17    log existed and it showed that she didn't inspect it every 15

   18    minutes, that would show that the corporate representative is

   19    misrepresenting the truth in this trial.

   20              Interrogatory No. 17 says, stewards are assigned to

   21    routinely clean, maintain the public bathrooms while on their

   22    shift.   On the date of the incident, the public bathroom was

   23    being cleaned every 10 to 15 minutes.        Vinarose Geronimo was

   24    assigned to the subject bathroom.

   25              We don't think that interrogatory answer is true, and
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    1    we think if we had the logs, that would be proof that it's not

    2    true because there were no 15-minute interval checks.          We then

    3    went to the length of hiring an investigator and sending the

    4    investigator on the cruise to see what the current practice is.

    5    And the answer is they don't check every 10 to 15 minutes.

    6               The information in this interrogatory answer is

    7    untrue.    The information in the interrogatory answer -- in the

    8    corporate rep depositions is untrue.        The truth is that they

    9    don't check this bathroom at all knowing that they have a

   10    chronic problem of water accumulating on the floor in large

   11    volumes.

   12               THE COURT:   From a legal perspective, from the

   13    Eleventh Circuit standard on spoliation, the concern or

   14    question, I guess, that I still have though is two fold again.

   15    Is your ability to impeach a witness, does that rise to the

   16    level of cruciality that you are required to show in order to

   17    prevail?    But relatedly, if you already have other evidence

   18    that would constitute the exact same impeachment, specifically

   19    here where Ms. Petisco testified that she cannot, in fact,

   20    verify -- she doesn't have a log and can't verify that it was

   21    done, can you make a showing of cruciality that's required

   22    under Eleventh Circuit law?

   23               MR. PHILIP GERSON:    Yes, because until this morning's

   24    affidavit was filed, it's been Carnival's position that we had

   25    the logs.    And despite knowing about the case, despite
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    1    receiving the preservation of evidence letter, 34 days after

    2    the incident, we destroyed them.

    3              Now, we believe that if they weren't destroyed, what

    4    they would show is that there was no 10- or 15-minute check,

    5    nor was there an hourly check.       In fact, there's one point in

    6    Ms. Petisco's deposition testimony where you can read it to

    7    mean that it was checked at 9:30 in the morning on one day and

    8    then not checked again until 4:30 in the afternoon on the same

    9    day, a gap of six or seven hours.

   10              Now, as of this morning, we get an affidavit that says

   11    oh, this has all been a big mistake.        There are no logs and

   12    there never were any logs, so therefore, we didn't destroy or

   13    spoliate any evidence that might have shown that the position

   14    that we've taken in this case is simply wrong and not true.

   15              THE COURT:    Okay.   So I want to make sure that I first

   16    confirm my understanding of how plaintiff would use the logs in

   17    their case in chief and then, second, give you an opportunity

   18    to present any further argument on your motion before I start

   19    asking defense counsel questions.

   20              It's my understanding, Mr. Gerson, that the log would

   21    be used to impeach the corporate representative's sworn

   22    testimony that a log is kept pursuant to Carnival's policy that

   23    memorializes the 15-minute bathroom check and that it was

   24    performed on the day that the plaintiff fell.

   25              MR. PHILIP GERSON:     Especially in this setting where
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    1    we are dealing with a bathroom that has a chronic leaking

    2    problem.    It might not make much difference if it was another

    3    bathroom somewhere else in the ship where there was no problem.

    4    But here we have corroborating proof that the problem was there

    5    the day after.    We have sworn testimony from our client that it

    6    was there the day of.     And we have Carnival's records less than

    7    eight weeks before showing the chronic problem that they have

    8    documented.

    9               Now they say in their interrogatory answers, and

   10    presumably they are going to say at the time of trial, jurors,

   11    we were careful, we checked this bathroom every 10 or 15

   12    minutes.    So where is the proof of that?

   13               Now, we have been chasing these logs through three

   14    depositions, through several magistrate hearings, and requests

   15    for production to verify whether that's true or not.          What do

   16    they show?    Do they show that Carnival is telling us the truth

   17    about what happened, or do they show that the truth is

   18    something different?

   19               And today -- these logs may document the water on the

   20    floor as well.    We don't know what's in them.       And if the

   21    housekeeper goes in and it's clean and dry --

   22               THE COURT:   Mr. Gerson, let me ask you to step back

   23    from the microphone.

   24               MR. PHILIP GERSON:    I'm sorry.    If the housekeeper

   25    goes into the bathroom and it's clean and dry, she might not
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    1    make much of an entry, but if she walks into the bathroom and

    2    it's flooded, then presumably she would document that in one of

    3    these many four-times-an-hour inspections.

    4              So how is it --

    5              THE COURT:    How are you making that assumption?        I

    6    have seen bathroom logs posted inside of restrooms, and they

    7    have nothing other than the time or the initials of the person.

    8    So on what are you traveling for the assumption that the log

    9    could or would have recorded whether the floor was dry or wet?

   10              MR. PHILIP GERSON:     It may have.    I don't know.

   11    That's why we want to see the evidence.        The documentary

   12    evidence is certainly going to be more persuasive and

   13    convincing to a jury than what someone says after the fact.

   14    Oh, yes, this is our policy and we executed the policy and here

   15    is our housekeeper who is supposed to do that.         Then we say,

   16    well, is there any proof of that.       They say yes, there is.        And

   17    then we have been chasing this for months and months.          And then

   18    this morning in their affidavit, they say, oh, no, we made a

   19    mistake, we don't have any logs and we never did.

   20              And it's interesting that in that affidavit the

   21    corporate rep says the information that I was given by the

   22    existence of the logs came from the person who was the head of

   23    housekeeping on this ship at the time of this voyage.          Then the

   24    affidavit correcting that this morning comes from some other

   25    supervisor who presumably is in a higher-up position in the
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    1    company but was not on the ship at that time.         And there is no

    2    explanation for that.

    3              THE COURT:    Okay.

    4              MR. PHILIP GERSON:     So that leaves us kind of stuck

    5    with what the corporate representative says.         And at the time

    6    we filed the motion, they were telling us that they had the

    7    logs, they knew about our claim from the day it happened

    8    because they were taking statements to prepare for their

    9    defense the same day.     And the next day we sent them a

   10    preservation of evidence letter within 34 days later

   11    identifying the location and the date of the incident.

   12              So there's no question that Carnival knew that there

   13    was a claim being made, that the claim was that the water on

   14    the floor, the flooded water on the floor, was going to be the

   15    dangerous condition that the plaintiff would prove, and the

   16    notice would be the plumbing documents that they have.

   17              And so their defense all along has been we have been

   18    cleaning this up every 10 or 15 minutes and we can prove it

   19    because we have this written evidence of it.         And we want to

   20    see the evidence.     We think if those logs did exist, that,

   21    frankly, now they have given us such conflicting statements

   22    about it that it's impossible to tell if it ever did or didn't

   23    exist.

   24              THE COURT:    Do you have the copy of the interrogatory

   25    that you were just reading?
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    1              MR. PHILIP GERSON:     I do.   It's No. 17.

    2              THE COURT:    How did you first learn about the

    3    existence of what we are calling the bathroom log?

    4              MR. NICHOLAS GERSON:      Counsel.

    5              MR. PHILIP GERSON:     My son responded to your question

    6    since he was the lawyer who was involved at the time, and he

    7    says that he was told that by Carnival's lawyers.

    8              THE COURT:    Okay.   Because I'm looking at the

    9    corporate rep deposition, which Mr. Gerson took the corporate

   10    rep deposition on April 10.

   11              MR. PHILIP GERSON:     Nicholas.

   12              THE COURT:    So his question, what information does

   13    Carnival have to verify that Geronimo actually did that?

   14              The corporate rep indicates that she believes there

   15    are logs kept but that they don't have them anymore.

   16              MR. PHILIP GERSON:     Look at page 77, line 8.

   17              THE COURT:    First I'm on page 76 --

   18              MR. PHILIP GERSON:     Okay.

   19              THE COURT:    -- where she indicates that she thinks

   20    that -- where she believes that there were logs kept and they

   21    don't have them anymore.      She indicates that there is a record.

   22    I'm not sure what it's called, but there is a record.

   23              Mr. Gerson clarifies, there's an internal record that

   24    Carnival utilized as part of its business, correct?

   25              Yes, correct.
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    1               I'm trying to -- I don't know if, Mr. Gerson, you can

    2    direct me, but the corporate rep testifies that her basis for

    3    knowledge for answering No. 17, as far as I can tell, only

    4    relies on a log, an internal document, whatever she calls it.

    5    Does she later or elsewhere identify another basis for her

    6    knowledge?

    7               MR. PHILIP GERSON:    No.

    8               MR. NICHOLAS GERSON:     Yes, she does.

    9               THE COURT:   Where?

   10               MR. NICHOLAS GERSON:     As far as the existence of the

   11    logs?

   12               MR. PHILIP GERSON:    No, she does not.

   13               THE COURT:   No, her answer to No. 17, that --

   14               MR. PHILIP GERSON:    No.

   15               THE COURT:   -- stewards are assigned to routinely

   16    clean and maintain the public bathrooms.        On the day of the

   17    incident, the subject bathroom was being cleaned every 10 to 15

   18    minutes.   Did she elsewhere rely on anything other than the

   19    log?

   20               MR. PHILIP GERSON:    She says that she talked to the

   21    housekeeping manager.

   22               MR. NICHOLAS GERSON:     Here is the interrogatory 13.

   23    It says that they are cleaning the bathrooms every 10 to 15

   24    minutes.   Again, we asked what the policy --

   25               MR. PHILIP GERSON:    Let me have the affidavit that was
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    1    filed today.

    2              In the affidavit that was filed today, they say that

    3    they checked with a housekeeping manager.

    4              THE COURT:    I'm asking a slightly different question.

    5    It seems to me that if the corporate representative

    6    testified -- well, if the corporation answered that the

    7    bathroom was being cleaned every 10 to 15 minutes and at

    8    examination a corporate representative testified that her basis

    9    for knowledge in direct response to counsel's question, how did

   10    you know that, was, I relied on a log that as it turns out

   11    Carnival says doesn't exist.      It's not competent testimony.

   12    It's not going to come in.

   13              MR. PHILIP GERSON:     If that's an evidentiary ruling,

   14    you know, I may accept it but --

   15              THE COURT:    Well, that's what I'm looking to see.        Is

   16    there another basis that she certified her knowledge?

   17              MR. PHILIP GERSON:     Yes, if you look at the affidavit

   18    which was filed today.

   19              THE COURT:    Okay.   I'm happy to.

   20              MR. PHILIP GERSON:     I think counsel said he had a hard

   21    copy.

   22              THE COURT:    I have it up.    I have access to the

   23    docket.

   24              MR. PHILIP GERSON:     I was struggling to recall the

   25    man's name.    It's in paragraph 7.     The Valor assistant
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    1    housekeeping manager Shakebhav Abuthalip responded the same

    2    day, quote, note retention period to keep the restroom cleaning

    3    logs is six months only.      The log was discarded already.

    4              THE COURT:    For the court reporter, I will spell that

    5    last name.   It's A-B-U-T-H-A-L-I-P.

    6              MR. PHILIP GERSON:     Now, the corporate representative

    7    continues in paragraph A, and she said, when asked the

    8    following week, meaning in the deposition when she's under

    9    oath, about these cleaning logs, as corporate representative, I

   10    based my response on the information given to me by the

   11    assistant housekeeping manager.       That's because he was the

   12    current assistant housekeeping manager and was also on duty at

   13    the time of the plaintiff's alleged incident over one year

   14    prior.   He was an individual with first hand knowledge of how

   15    the housekeeping department is run on the Valor.

   16              Now she begins a discussion.       This is the first time

   17    we hear this, when we get the affidavit this morning, telling

   18    us that another -- that the fleet housekeeping manager who

   19    presumably was not on the ship at the time, someone named Dima

   20    Draganova, she reached out to her, I don't know why, to confirm

   21    that the logs exist and whether they ever -- where they were

   22    located and what the retention policy was.         And then she goes

   23    on to say that this official told her that there never were any

   24    logs.

   25              THE COURT:    Okay.   So the defendant has no basis for
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    1    the assertion that the bathroom was checked every 10 to 15

    2    minutes on the day that the incident happened.

    3              MR. PHILIP GERSON:     You know, Magistrate O'Sullivan

    4    made the point that this is the United States District Court.

    5    You don't come into the court, to this court, and not have your

    6    story straight.    We've propounded interrogatories.        We take

    7    three depositions.     And now on the day of the hearing when we

    8    have been trying to find this evidence for months and months,

    9    we are told, oh, not only we didn't destroy it, it just never

   10    existed in the first place.      I don't know how a court can

   11    tolerate that kind of capriciousness.

   12              In our memo, we cited several cases on the nose for

   13    spoliation of evidence, probably the leading cases.          One of

   14    them is an order by Magistrate Goodman.        And Magistrate

   15    Goodman's solution was simply to let all of this come into

   16    evidence and be heard by the jury, all of the statements about

   17    the existence of the documents or the evidence, in that case it

   18    was videotapes, not written documents, but nevertheless, there

   19    were videotapes that were electronically stored.

   20              His remedy for the violation was, let the jury hear

   21    all of this because Carnival is still going to insist that we

   22    prove notice for the conditions that were in existence at the

   23    time of our client's injury.

   24              Now, we believe that the plumbing records from seven

   25    weeks before are adequate proof that there was a chronic
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    1    problem that was ongoing and that there's no evidence showing

    2    that the problem was ever resolved.        But we think that we need

    3    more and we think we are entitled to more given the history of

    4    what Carnival has done in this litigation of misleading us like

    5    this all the way down to the final hours before a hearing to

    6    ask a court for the remedy.

    7              THE COURT:    But what now?    Now that the position is

    8    that the logs never existed, the relief that you were seeking,

    9    an instruction to the jury that if the log still existed, it

   10    would be favorable to you and unfavorable to the defendant,

   11    that's not probably what you are seeking anymore, is it?

   12              What is the relief specifically that you want me to

   13    recommend to Judge Smith?

   14              MR. PHILIP GERSON:     That was what was in my motion,

   15    because at the time --

   16              THE COURT:    At the time there were logs.       I tell you

   17    what, I won't necessarily, because I think you have had a

   18    little more time to process the affidavit than I have, so that

   19    will be my question when I come back, what are you asking for

   20    now and let me hear -- I swear I'm going to keep mispronouncing

   21    your name.   Mebane?

   22              MR. MEBANE:    Mebane, Judge.     Don't worry.    I have

   23    heard it all over the years.

   24              MR. PHILIP GERSON:     We are asking for an adverse

   25    inverse instruction which could be worded alternatively in view
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    1    of what we have been told this morning or the remedy that

    2    Magistrate Goodman fashioned -- I believe it's in the Perez

    3    case.   I have copies of the opinions that are cited in my

    4    motion, and I will hand them to the clerk as I sit down and let

    5    Mr. Mebane address the Court.

    6               MR. MEBANE:    Thank you, Your Honor.     Would you prefer

    7    me to be at the podium?

    8               THE COURT:    This is fine unless I get a funny look

    9    from the court reporter.

   10               No, we are good.

   11               MR. MEBANE:    I think I had that bathroom log.       I had

   12    discussions with Mr. Nicholas Gerson.        Ms. Milewski here had

   13    discussions with him as well.       I really wish that I had a piece

   14    of paper that showed -- and as Your Honor pointed out, what I

   15    would expect it to show would be initials and a time of day.             I

   16    don't have it.

   17               The information -- I don't have of it.       I'm not going

   18    to produce it at trial.      Carnival will not be seeking to

   19    introduce the log because it doesn't exist.

   20               The confusion in this case came because originally

   21    Carnival's response to, give me any logs that might relate to

   22    the bathroom was, we don't have any bathroom logs.          That was

   23    correct.

   24               In my conversation with Mr. Nicholas Gerson, he

   25    insisted, and he insisted to Ms. Milewski as well, that he knew
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    1    because the case that he had, another case, that there were

    2    logs and they were in electronic format.        So what do we do?     We

    3    go back to the ship, to the guy who was there at the time this

    4    lady slipped and fell.

    5              By the way, Carnival has never -- we are not shying

    6    away from the fact that when they went into the restroom after

    7    Ms. Ledet had her slip and fall that there was water there.

    8    We've never shied away from that.

    9              I mean, there was water on the floor.        Where the water

   10    came from is another issue.      Where the water came from,

   11    frankly, is people washing their hands at the sink, turning

   12    around, walking to the adjacent wall where there are

   13    wall-mounted hand dryers, and water gets on the floor.           It

   14    happens in every room.     I guarantee you it probably happens in

   15    this restroom right outside the courtroom.         That's where the

   16    water came from.

   17              There is an issue to be decided by the jury,

   18    presumably how much water was there, was it a big puddle of

   19    water, a few drops of water.      We have never shied away from

   20    that and we are not going to at trial.        We are not coming in

   21    with a log, as much as I would love to have a log, showing that

   22    Ms. Geronimo's testimony -- and her statement given to security

   23    has been fully fleshed out in the record.        Plaintiff knows

   24    about it.   Ms. Geronimo was the housekeeping stewardess who was

   25    responsible for that bathroom.       Her statement was that I
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    1    checked it about 15 to 20 minutes, and I'm paraphrasing here,

    2    before we found out about the accident, and it was dry.

    3              THE COURT:    Is her statement in the record?

    4              MR. MEBANE:    Her written statement is not.       The

    5    testimony of the corporate representative did read the

    6    statement into the record.

    7              THE COURT:    Where?

    8              MR. MEBANE:    I will have to find it.      It is in --

    9              THE COURT:    Will Ms. Geronimo be a witness at trial?

   10              MR. MEBANE:    I would anticipate calling Ms. Geronimo

   11    at trial.    Ms. Geronimo, by the way, was identified in our

   12    Rule 26 disclosures, initial disclosures, from the git-go out

   13    of the gate, Ms. Geronimo was identified as somebody with

   14    knowledge.

   15              THE COURT:    Has she not been deposed?

   16              MR. MEBANE:    No.   We offered dates.     At one point the

   17    plaintiff said, we would like to depose her, we would like to

   18    depose her.    We offered dates, and they never wanted to depose

   19    her and never deposed her.

   20              THE COURT:    Where is her statement as read by Ms. --

   21              MR. NICHOLAS GERSON:      May I just --

   22              THE COURT:    Mr. Gerson, let me go back and forth in an

   23    organized fashion.     Write yourself a note so you don't forget

   24    it.

   25              MR. MEBANE:    In any event, Judge, I would love to have
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    1    a bathroom log because we come to find out they were wrong.

    2    The information we got from the assistant housekeeping manager

    3    was simply not correct.      That was the basis for the corporate

    4    representative's testimony in one of her depositions saying

    5    this is it.

    6              However, as Your Honor has pointed out, the corporate

    7    representative was very careful and honest in saying, I don't

    8    have it, I've never seen it, I understand they exist.          That was

    9    based on this guy's email which was wrong.         We don't have it.

   10              I was very disappointed.      I had a discussion with

   11    Mr. Gerson one time after a deposition or during a break.           I

   12    said, I would love to have this log that you insist exists

   13    because if I have that, I may move for summary judgment.           I

   14    can't.   I don't have it.     It doesn't exist.

   15              I'm not sure what spoliation occurred because there

   16    was nothing spoliated.     And there is no evidence that is going

   17    to prejudice the plaintiff by us coming in and saying, aha, we

   18    found the log.    We are not going to.      It doesn't exist.     I wish

   19    I had it.   I don't.

   20              THE COURT:    Mr. Mebane, how many times did you take

   21    the position in this docket that the log existed and you didn't

   22    have the duty to preserve it?

   23              MR. MEBANE:    We took the position at the corporate

   24    representative's deposition where she said that my

   25    understanding is that there are logs, they are only maintained
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    1    for six months, we don't have it.       By the way, the letter of

    2    representation that the Gersons sent Carnival did not say give

    3    us bathroom logs, give us everything else.         It said preserve

    4    CCTV, which there is no television in the bathroom.

    5              THE COURT:    Different question.     How many places,

    6    times, and ways did Carnival take the position that the log

    7    once existed but you didn't have the duty to preserve it?

    8              MR. MEBANE:    In the corporate representative

    9    deposition in --

   10              THE COURT:    In response to this motion.

   11              MR. MEBANE:    And, yes, in response to the motion, yes,

   12    Your Honor, that's correct, that we thought they had -- that

   13    was the information we had at the time, that there were logs.

   14    Come to find out in preparing for the evidentiary hearing,

   15    because we assumed that Your Honor would probably want to know

   16    what's the history of this particular document --

   17              THE COURT:    If I hadn't set it for hearing, would that

   18    affidavit ever have seen the light of day?

   19              MR. MEBANE:    Probably, Your Honor -- I mean probably

   20    not.   Because it was an evidentiary hearing, we wanted to

   21    present some evidence by way of a sworn statement.

   22              THE COURT:    Does Rule 11 mean anything at all if not

   23    the duty to investigate before you attach your signature to a

   24    pleading?

   25              MR. MEBANE:    It does, absolutely, Judge.       It does,
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    1    absolutely.    But Carnival at the time, we were operating under

    2    the information which turned out to be wrong, that these

    3    documents existed and no longer did.        I mean, we certainly

    4    would not have put it down had we known it didn't exist.

    5              THE COURT:    It's not a standard of I didn't actually

    6    know.   What were the steps that were taken in the course of the

    7    investigation to respond truthfully to plaintiff's request for

    8    any documents that would memorialize the condition of the

    9    bathroom?

   10              MR. MEBANE:    Your Honor, we fully had confidence in

   11    the statement and in the deposition testimony of the corporate

   12    representative.    She relied on an individual who was wrong.

   13              THE COURT:    How did that change between yesterday and

   14    this morning?

   15              MR. MEBANE:    Yesterday, and getting back, I think,

   16    Friday or Thursday, latter part of last week, we began to try

   17    and find out more about this document, where is it, is there a

   18    written policy somewhere.      It turns out that there is no

   19    written policy, but there is --

   20              THE COURT:    Which again is so disconcerting, I'm

   21    having trouble finding polite words.        If I hadn't set this down

   22    for hearing, I have no confidence that Carnival would have

   23    undertaken the investigation that Rule 11 required it to have

   24    already undertaken at a minimum in response to the motion for

   25    spoliation before taking that position in front of me and this
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    1    court, and simply because you were presented with the deadline

    2    of coming into court with a witness to avoid the specific

    3    relief that the plaintiff here seeks, that is that adverse

    4    instruction that the log, if it still existed, would have been

    5    unfavorable to you, it truly makes no sense if it never

    6    existed, right?    I mean, I'm having a hard time not feeling

    7    incredibly cynical about this.

    8              MR. MEBANE:    Your Honor, we had no reason to doubt the

    9    man on the spot.

   10              THE COURT:    Except that you did doubt and you

   11    ultimately undertook the investigation Thursday or Friday of

   12    last week.

   13              MR. MEBANE:    We wanted to confirm what he said, and

   14    that's what --

   15              THE COURT:    I'm glad that you did ultimately choose to

   16    confirm what was said at deposition, but there's a phrase here

   17    too little too late.

   18              MR. MEBANE:    Your Honor, and I understand the Court's

   19    frustration, this was not done -- we were not, under any

   20    circumstance, trying to mislead the Court in any event.

   21              What I fully expected was that somebody somewhere

   22    would say, yes, we are confirming what the guy on the ship

   23    says, that we have a six-month retention policy maybe unique to

   24    that ship.   Each manager runs their ship a little differently.

   25    And then we could come in and say that's exactly what it was.
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    1    We were surprised to find out that, no, in fact, that his

    2    information was wrong, that they don't have it and they don't

    3    exist.

    4              THE COURT:    Who is the we in that sentence?       Is it you

    5    and your co-counsel at the table here?

    6              MR. MEBANE:    And Carnival.     This was not expected by

    7    Carnival either.    Their legal department, Ms. Milewski, myself,

    8    that was not the answer that I expected to hear.          I fully

    9    expected to be like, yeah, that's right, it's six months, and

   10    these are thrown away because they are bathroom logs.          But then

   11    they come back and say, what we found out, they used to do

   12    this, and they discontinued it seven years ago.

   13              THE COURT:    What I still hear from your answer and

   14    what I was getting at when I said what changed between

   15    yesterday and today and you corrected me and said that the

   16    investigation occurred last Thursday is not that there has been

   17    some change in circumstance that previously prevented you from

   18    meaningfully undertaking that investigation or some way in

   19    which the information was concealed from your client.          In

   20    preparation for the hearing today, the investigation was

   21    finally undertaken.     That is what I find very concerning.        And

   22    I want to afford you an opportunity to respond to that, but I

   23    cannot see how this is not a Rule 11 sanction situation

   24    violation.

   25              MR. MEBANE:    Your Honor, you are absolutely right that
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    1    there is nothing that prevented my office or Carnival from

    2    doing what we did towards the end of last week.         There is not

    3    that.   That was simply getting ready for the hearing and trying

    4    to come up for the Court with some evidence beyond the

    5    statement of the corporate representative saying that these

    6    logs were retained and then were disposed of according to a

    7    retention policy.     That's what we all understood to be the

    8    case.

    9              THE COURT:    Okay.   A couple more questions.      Did you

   10    identify some place in the deposition where Ms. Petisco

   11    testified to another basis for her answer to No. 17, that is,

   12    that on the date of the incident, the subject bathroom was

   13    being cleaned every 10 to 15 minutes?

   14              MR. MEBANE:    Yes, Your Honor.     This is in the

   15    deposition dated April 11, 2019.

   16              THE COURT:    So she was deposed two days in a row?

   17              MR. MEBANE:    Yes.   The first day she had a migraine

   18    headache and had to go home.

   19              THE COURT:    Okay.

   20              MR. MEBANE:    And was brought back the following day?

   21              THE COURT:    Let me see if that's Exhibit 2 to docket

   22    entry 37.

   23              Okay.   What page?

   24              MR. MEBANE:    Page 54, Judge.

   25              THE COURT:    Mr. Gerson, do you have a copy of this
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    1    with you?

    2              MR. NICHOLAS GERSON:      April 11?

    3              THE COURT:    Yes.

    4              I'm backing up a little bit to get context here.

    5              MR. MEBANE:    Of course.

    6              THE COURT:    So I'm up at page 50 where Ms. Petisco

    7    testified at line 18, the bathroom logs would be different.

    8    Those would be something created by hand.

    9              So she interjects the subject of the bathroom logs,

   10    and Mr. Gerson follows up.

   11              Okay.   What page do you want to draw my attention to?

   12              MR. MEBANE:    Page 54, Judge, the question about

   13    Ms. Geronimo starts at the bottom of page 53.         But on page 54,

   14    she says, Ms. Geronimo's statement states that she was the one

   15    assigned to the bathroom.      She was checking it every 10 to 15

   16    minutes on that day.     The last time she had been in there, she

   17    left the floor in a dry condition.       Everything was normal.

   18              That was the substance of the statement.         It says that

   19    Ms. Geronimo confirms that she was in there every 10 to 15

   20    minutes, as she was supposed to do.

   21              So Ms. Geronimo is the actual person who went into the

   22    restroom and who gave the statement and who was offered for

   23    deposition.

   24              Initially, Judge, when we were filing our response to

   25    the plaintiff's motion, it was a simple legal argument that
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    1    they did not meet the Eleventh Circuit standard for an adverse

    2    inference or for spoliation sanctions, that it wasn't crucial

    3    to their case.    In this case they certainly have developed

    4    enough evidence to show that there was water on the floor.           We

    5    have admitted it.

    6               THE COURT:    Mr. Mebane, I don't know if the intention

    7    of the argument that you are presenting to me now is to suggest

    8    that Carnival took a forthright position in its opposition.

    9               MR. MEBANE:    Judge, that was our --

   10               THE COURT:    You are not arguing, I hope, that the

   11    response is consistent with the affidavit you filed this

   12    morning.

   13               MR. MEBANE:    No, the affidavit is not.

   14               THE COURT:    Okay.

   15               MR. MEBANE:    The affidavit says they did not exist.

   16               THE COURT:    Right.   But the response cannot be

   17    reconciled with Carnival's now position --

   18               MR. MEBANE:    That's correct.

   19               THE COURT:    -- that they don't exist.

   20               MR. MEBANE:    That's correct.

   21               THE COURT:    I thought that's what you were suggesting,

   22    and I thought, you can't be suggesting that.

   23               MR. MEBANE:    No, Your Honor.    At the time that was our

   24    understanding of what the facts were.        Come to find out that

   25    the logs don't exist.      And to be forthcoming with the Court,
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    1    that's why we filed the affidavit of Ms. Borcegue.          I am

    2    certainly not going to come in here, and Ms. Milewski, and

    3    represent to you something that I know now is not true.

    4              THE COURT:    Has the Geronimo statement been turned

    5    over?

    6              MR. MEBANE:    I don't believe the statement itself has.

    7    It's possible.    I will confirm.

    8              MR. NICHOLAS GERSON:      It has not.

    9              MR. MEBANE:    That one has not been.      There was one.     I

   10    believe the plumber's was turned over.        We can turn it over.

   11    The substance of it was read into the record.

   12              THE COURT:    It was also described as a two-page

   13    document, and I think Ms. Petisco summarized three sentences or

   14    so.   So I appreciate your offer.      I will expect that then to be

   15    turned over by close of business.

   16              MR. MEBANE:    No question we can do that.

   17              THE COURT:    Okay.   The difficulty that I continue to

   18    have here though is the hard-fought position that the

   19    plaintiffs have had to push and litigate and challenge

   20    discovery of these logs that has been opposed at every step

   21    only to come to find out now that they don't exist.          That's a

   22    lot of time and energy away from the plaintiff's preparation of

   23    their case that turned out to all be for naught.          And as we

   24    have covered, there wasn't any reason it couldn't have been

   25    discovered through meaningful investigation at the time that
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    1    the response for production was undertaken, right?          When were

    2    the answers for request for production and interrogatories

    3    served?

    4               MR. MEBANE:    The March 22 of this year, there was an

    5    amended response where we said that we did not have any logs.

    6    And I don't necessarily agree that with plaintiff's position

    7    that they have been making these logs a feature or a central

    8    item in this case, we need the logs, we need the logs.

    9               As I said when I first stood up, I would love to have

   10    a log.    That would help my case, I believe, because I believe

   11    if there was a log, it would show that, guess what, the

   12    bathroom was inspected every 15, 20 minutes, just like every

   13    log anybody's ever seen on the back of a door.

   14               I was kind of enthusiastic, and disappointed when they

   15    didn't exist.

   16              THE COURT:     So where are we now?

   17              MR. MEBANE:     Where we are now, at trial Carnival will

   18    not introduce any evidence of a bathroom log because we can't,

   19    they don't exist.     There will be no log.

   20              Ms. Geronimo, who was offered for deposition and whose

   21    statement we will be turning over today, said that she, as part

   22    of her duties, was checking the bathroom regularly and that she

   23    was in there only minutes before the lady fell.         The position

   24    of Carnival, and it's made this clear, is that there was no

   25    actual leak.    A lot of these work orders, I mean, as Your Honor
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    1    knows, these are kind the United Nations at sea, and English is

    2    not these people's first language by and large.

    3              THE COURT:    Is it Ms. Geronimo's first language?

    4              MR. MEBANE:    No.   I believe she's Filipino.      I don't

    5    want to represent that as a fact, but she is not American.

    6              THE COURT:    Is her statement written in English?

    7              MR. MEBANE:    It is.   All crew members have to have a

    8    basic working knowledge of English.        The problem is it's a

    9    basic working knowledge of English.        So you will see things

   10    that say a leak, the hand dryers are leaking.         Well, hand

   11    dryers don't leak.     What it is is there was water on the floor,

   12    and the water was coming from people with wet hands on there.

   13    So that would be a transitory substance.

   14              I don't have any evidence that I can come in and say

   15    five minutes before Ms. Ledet went in there, I was in the

   16    bathroom and I saw a lady shaking her hands on the floor.           I

   17    don't have that.    I don't.    But we know that there was water

   18    there.

   19              THE COURT:    Let me ask you to summarize how Carnival

   20    intends to introduce its evidence regarding the condition of

   21    the floor and specifically what notice Carnival had.          So

   22    obviously, I am asking about Carnival's position with respect

   23    to whether the floor was wet and dried at a particular time

   24    prior to Ms. Ledet's fall and whether or not Carnival knew it.

   25              MR. MEBANE:    The position that Carnival will take in
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    1    this litigation, and we have already, is that Ms. Geronimo, her

    2    testimony is that, I went in and I checked it some 15 to 20

    3    minutes before and I saw it was dry.

    4               THE COURT:    Let me be more specific there because I

    5    think Mr. Gerson pressed the corporate rep pretty hard to

    6    confirm that Ms. Geronimo did not say I was in there 15 minutes

    7    before, but rather, that I was checking it as I'm supposed to

    8    in 15-minute intervals.      Right?

    9               MR. MEBANE:    Her statement says 9:50 a.m. on it, that

   10    she went in at 9:50 a.m. apparently.        I don't have a copy of

   11    the statement here, Your Honor, I'm sorry.         But the evidence

   12    would be, I'm a housekeeping stewardess on the ship.          My job

   13    was to take care of this public restroom.        I would go in every

   14    15 to 20 minutes to check it and fix anything that needed to be

   15    fixed.    When I was in there, before she fell but within less

   16    than 30 minutes, it seemed fine to me.        They are welcome to

   17    cross-examine Ms. Geronimo at length, and I'm sure they will.

   18               THE COURT:    What time did Ms. Ledet fall?

   19               MR. MEBANE:    10:15, somewhere around there.

   20               THE COURT:    And the testimony -- I'm sorry, the

   21    written statement says, I was in there at 9:50?

   22               MS. MILEWSKI:    Not specifically that, but to that

   23    effect.    It said that she was there at 9:50.

   24               THE COURT:    The time stamp 9:50 appears on there?

   25               MR. MEBANE:    It's handwritten.
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    1              MS. MILEWSKI:    I believe it's 9:50 but --

    2              THE COURT:    Not the time that she wrote the statement,

    3    but the time that I was in there was 9:50?

    4              MS. MILEWSKI:    Correct.

    5              THE COURT:    Which is contrary to how the corporate

    6    representative testified.

    7              MS. MILEWSKI:    Not exactly, Your Honor.       The corporate

    8    rep testified that in some situations -- their goal is

    9    obviously to do it every 10 to 15 minutes as internal

   10    procedure, but there are situations that come up such as this

   11    day, it was very busy because it was late getting into port,

   12    there was rain outside so it was very crowded, and sometimes

   13    there are situations where they can't make it to the bathroom

   14    every 10 to 15 minutes on the dot, but that's what they strive

   15    to do, and it was pretty close to that time frame.

   16              THE COURT:    The question was what did she indicate

   17    when was the last time she had been in the bathroom?          I don't

   18    recall exactly.    I don't know that she had given a time.

   19              MS. MILEWSKI:    Your Honor, in her third depo, I don't

   20    have the transcript with me, she was questioned at length with

   21    the statements in front of her by Mr. Gerson in a lot of detail

   22    asking how many sentences the statements was, how many pages.

   23    Pretty much every detail was asked that could have been asked

   24    in regard to that statement in the June 5, I believe,

   25    deposition is when all the details came out.         This first depo
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    1    is just the first time we have a record of what her statement

    2    said.

    3              THE COURT:    So back to my point about how hard the

    4    plaintiff had to work to get these bathroom logs.          When the

    5    corporate rep says at one deposition, and I read through it in

    6    that moment of silence, she was extraordinarily flippant.           I

    7    think that she probably told Mr. Gerson a dozen times that she

    8    doesn't memorize the statements and she doesn't know and we've

    9    already covered this ground.      And she finally offers the

   10    testimony that, you know, the person didn't say when she was in

   11    there last.

   12              And then we have to get to a third deposition,

   13    apparently, I'm going to assume from your response there, that

   14    in the third deposition with the statement in front of her, she

   15    was then able to tell plaintiff that there was a time stamp of

   16    9:50.   Even assuming that, why should it take three depositions

   17    for the corporate representative to answer that question

   18    accurately and honestly?

   19              MR. MEBANE:    Well, it shouldn't.

   20              THE COURT:    It shouldn't.

   21              MR. MEBANE:    It shouldn't.

   22              THE COURT:    I mean, this is not okay.

   23              MR. MEBANE:    And there is a background in history to

   24    the fact that there were three depositions here.          And I think

   25    there are several hearings with Magistrate Judge O'Sullivan.
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    1    Generally the theme is that the corporate representative was

    2    not prepared.

    3              And then the last deposition, the entire deposition

    4    was trying to prove the corporate representative was unprepared

    5    to the extent of even changing up a document in the notice

    6    right before and then saying the witness wasn't prepared

    7    because the document hadn't been -- was not one of the ones

    8    they said they wanted to ask about.        So there is some context

    9    with this.

   10              THE COURT:    I want to go back to how Carnival intends

   11    to prove what evidence it intends to use to prove the condition

   12    of the floor in Carnival's notice.

   13              So you intend to call Ms. Geronimo to testify that she

   14    had been in the bathroom at 9:50 and found it in a dry

   15    condition or left it in a dry condition?

   16              MR. MEBANE:    I believe the testimony is that she

   17    observed it to be dry.     I mean, obviously they had an

   18    opportunity to depose her, and we could find out what she says.

   19              THE COURT:    Stick with me.     I want to know how you are

   20    getting your case in.     Do you intend to elicit through your

   21    corporate representative any testimony regarding Carnival's

   22    knowledge of the condition of the floor before Ms. Ledet's

   23    fall?

   24              MR. MEBANE:    Not through the corporate representative.

   25    My preference would be to have the eyewitness, Ms. Geronimo,
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    1    say I was there.

    2              THE COURT:    Okay.    Preferences are great.     Trials are

    3    exciting and unpredictable.       Will Carnival call its corporate

    4    representative and elicit through any corporate representative

    5    evidence to the effect that the floor was dry before

    6    Ms. Ledet's fall?

    7              MR. MEBANE:    No.

    8              THE COURT:    Will Carnival call any corporate

    9    representative and elicit evidence through any corporate

   10    representative that Carnival had no knowledge of the water on

   11    the floor before Ms. Ledet's fall?

   12              MR. MEBANE:    I believe the evidence would be -- and I

   13    can't contest that Carnival was aware of water being on the

   14    floor in this restroom.      That's evidenced by various work

   15    orders and complaints that were in the weeks and months leading

   16    up to Ms. Ledet's fall.      So I can't contest that Carnival was

   17    aware that there was a problem with water on this floor.

   18              Ms. Geronimo would only be there to say, I was in the

   19    restroom 20, 30 minutes beforehand, and the floor was dry when

   20    I left it, but that's 20 to 30 minutes with people using this

   21    restroom.    So I don't have any evidence that immediately prior

   22    to Ms. Ledet going in the bathroom, the floor was dry.           I don't

   23    have that.    I wish I did.     So I don't.

   24              I think -- and Carnival is not going to take the

   25    position at trial, we haven't all the way through the
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    1    litigation, that the floor was dry and she tripped over

    2    something.    When they responded to her fall, they noted, and we

    3    have disclosed this, that the floor was wet.         When they got

    4    there, Ms. Ledet had fallen, the floor was wet.

    5              THE COURT:    Are bathroom logs maintained for any of

    6    Carnival's ships?

    7              MR. MEBANE:    No.

    8              THE COURT:    Were they maintained in 2018?

    9              MR. MEBANE:    No.

   10              THE COURT:    When was the last time that bathroom logs

   11    were maintained?

   12              MR. MEBANE:    My understanding is it may have been

   13    2011.

   14              THE COURT:    Did the witness on whom Ms. Petisco relied

   15    work for Carnival in 2011?

   16              MR. MEBANE:    I do not believe so.      He's been with the

   17    company a while, but I'm not sure if he was there in 2011.           In

   18    2011, I have heard different things, that it was seven years

   19    ago or eight years ago that they used to maintain these and now

   20    they don't.    I don't want to represent to the Court that it was

   21    exactly 2011, but I know that year was thrown out there.

   22              THE COURT:    Has anyone spoken to the assistant

   23    housekeeping manager about his basis for responding that the

   24    retention period for the restroom cleaning logs is six months

   25    only and that the log was discarded already?
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    1              MR. MEBANE:    No, Your Honor.     He's on vacation and is

    2    not accessible.    He's not working Carnival at the moment,

    3    because that was the first thing when I got this information I

    4    wanted to do.

    5              THE COURT:    When was the last time he was under

    6    contract of Carnival?

    7              MR. MEBANE:    July.

    8              THE COURT:    That was when the motion for spoliation

    9    was filed, so no one contacted him then?

   10              MR. MEBANE:    No, Your Honor, I believe anybody did.         I

   11    don't know exactly what date he signed off, but understanding

   12    it was in July, maybe the first part of July.

   13              THE COURT:    I would like to know.

   14              MR. MEBANE:    I can certainly get that information.

   15              THE COURT:    Where is he vacationing for these last two

   16    months?

   17              MR. MEBANE:    We will have to find out what country

   18    he's from, Judge.

   19              THE COURT:    Okay.    So by on vacation, you mean he's

   20    not presently --

   21              MR. MEBANE:    He's not under contract, no.       They go

   22    home for a period of a couple months, and there they can go on

   23    vacation.   Generally they go home.

   24              THE COURT:    Is he under contract to return?

   25              MR. MEBANE:    I believe he has an expected sign-on
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    1    date, yes, Your Honor.

    2              THE COURT:    Of?

    3              MR. MEBANE:    Not positive.     Usually, if it's a

    4    two-month, then probably, serving August, September, maybe

    5    within the next month.     We can find that out, when they have an

    6    expected date.

    7              THE COURT:    What attempts have been made to contact

    8    him?

    9              MR. MEBANE:    In the last few days?

   10              THE COURT:    Since the filing of the spoliation motion.

   11              MR. MEBANE:    I don't believe we have reached out to

   12    Mr. Abuthalip.    We had no read to doubt him.

   13              THE COURT:    In the last few days when you had a reason

   14    to doubt him, what efforts were made?

   15              MR. MEBANE:    That was, I think, yesterday that I was

   16    saying let's see if we can get up with him.         I'm sure we have a

   17    phone number.    I'm not sure if we had tried to call him yet.          I

   18    wanted to hear from him.      I wanted to talk to him myself, find

   19    out what he's talking about.

   20              THE COURT:    I believe you.     And I can see that you and

   21    your co-counsel's efforts to, pardon the pun, right the ship

   22    are earnest, but you are representatives.        And I don't see the

   23    same level of concern or sincerity from the defendant here,

   24    candidly.

   25              Again, I don't want to be overly cynical, but the
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    1    motion for spoliation is filed and he becomes unavailable until

    2    the hearing.    And Carnival, once it finds out that their entire

    3    position is predicated on his email statement, Carnival makes

    4    no attempt to call him back or get ahold of him and put him in

    5    touch with their attorney before the attorney signs something

    6    in federal court and takes a sworn position?         That suggests to

    7    me a lack of appreciation, again, for Rule 11 and, frankly,

    8    this case.

    9              So then let me go back to where I was trying to be.

   10    What should happen with this motion?

   11              MR. MEBANE:    I don't believe that there's legal basis

   12    to grant it under the Eleventh Circuit precedent, that it

   13    doesn't meet the cruciality standard, especially in light of

   14    the fact that we admit there was water on the floor when she

   15    fell.   I think it would be a different case if we were

   16    contesting that.

   17              THE COURT:    Okay.   But what you are contesting, if the

   18    position is the floor was wet when she fell but it was dried at

   19    9:50, then the legal defense is so we didn't know.

   20              MR. MEBANE:    That would be we didn't have notice of

   21    the immediate risk-causing condition because when we checked it

   22    last, it appeared dry to us.      The problem is that people are in

   23    there using the restroom, washing their hands.

   24              THE COURT:    So that sounds, even as you stand here,

   25    you recognize and are on notice that this bathroom presents a
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    1    risk because people are in their washing their hands and making

    2    the floor wet.

    3              MR. MEBANE:    I can't disagree with that.

    4              THE COURT:    I'm struggling to hear your evidentiary

    5    basis for challenging notice.

    6              MR. MEBANE:    I mean, I think that would be the only

    7    evidence that we could possibly have would be that Ms. Geronimo

    8    would testify, when I was in there, it looked fine to me.           But

    9    then 20, 30 minutes goes by, she falls down, there's water.

   10              Obviously water got there in that period of time.          But

   11    for Carnival to be on notice of it, it's a public restroom,

   12    they were disembarking that day so a lot of people were hanging

   13    around waiting for their number to be called, their group, and

   14    people use the restroom.      And they come in there and wash their

   15    hands and turn around and walk to the opposite wall where the

   16    driver is mounted on the wall and they dry their hands and it

   17    gets on the floor.

   18              So I'm not suggesting that it's a very easy defense to

   19    say that there's no water.      We have to own it.     We have.    We

   20    are not hiding the fact there was water on the floor.

   21              I don't have a log, as I said, coming back around.            I

   22    wish I did.    I think that would help Ms. Geronimo say, yeah,

   23    that's my initials right there, and I do it when I go in there.

   24    I don't have it.

   25              THE COURT:    Where is Ms. Geronimo now?
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    1               MR. MEBANE:    She is, I believe, on a ship.      I believe

    2    she's on -- we can find out.       She's working.    She is working.

    3    She's on a ship.    I'm not sure.     I can find out the exact ship.

    4    Maybe on the west coast.

    5               THE COURT:    But you anticipate that she is going to be

    6    here in Miami for trial?

    7               MR. MEBANE:    She is currently on board the Carnival

    8    Imagination, and I don't know where that ship is home ported

    9    but somewhere in the U.S.

   10               THE COURT:    But you anticipate you are going to have

   11    her here in Miami for trial, right?

   12               MR. MEBANE:    Yes.

   13               THE COURT:    And she's on the west coast of Florida?

   14               MR. MEBANE:    I'm not sure where the Imagination is.

   15    We can find out.    We have got a handy little app here.

   16               THE COURT:    Okay.   So if plaintiff wanted to depose

   17    her before trial, you could bring her here to Miami before that

   18    deposition?

   19               MR. MEBANE:    We could do that.    It's out of Los

   20    Angeles.   That ship is out the Los Angeles, Long Beach.

   21               THE COURT:    Let me be more direct.     With respect to

   22    the motion for spoliation, if the document never existed, then

   23    there could be no sensible instruction that the jury be told

   24    that the document, if it still exists, would be unfavorable to

   25    the defendant.    Notwithstanding, is it your suggestion that the
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    1    outcome from all of this is simply that the motion be denied,

    2    that there be no sanction, that there be no consequence for the

    3    position that Carnival has taken here?

    4              MR. MEBANE:    Well, I'm not sure how a sanction would

    5    be fashioned.    And I understand the --

    6              THE COURT:    Rule 37.

    7              MR. MEBANE:    Well, obviously the rule.

    8              THE COURT:    Pretty significant.     I would characterize

    9    these as -- well, or Rule 11.       Take your pick.    We could give

   10    it some thought.    But what is the right remedy here?

   11              MR. MEBANE:    If I had to fashion a remedy sitting

   12    where you sit?

   13              THE COURT:    I will give you the opportunity to suggest

   14    it because with the filing of your affidavit today, we are all

   15    finding ourselves in new positions.        And I do want to take the

   16    testimony of your witness because I'm sure Mr. Gerson,

   17    likewise, doesn't want to at this point just rely on an

   18    unchallenged statement now that the logs don't exist.

   19              MR. MEBANE:    I think a remedy that could be fashioned

   20    would be, one, as Your Honor suggested, to bring Ms. Geronimo

   21    here and have Mr. Gerson depose her and find out what she

   22    knows.   I mean, she may not know that much.        She may not know

   23    more than what's in her statement, frankly.         And so then

   24    obviously that could be utilized at trial and to attack her

   25    credibility or certainly her memory, and the jury could do with
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    1    that what they may.

    2              I think a more serious or harsh sanction would be to

    3    preclude Ms. Geronimo from offering testimony because of the

    4    issue in the logs.     Again, we are not saying there wasn't water

    5    on the floor when Ms. Ledet fell and we never have.

    6              THE COURT:    Okay.   Is there anything else that you

    7    wanted to present?

    8              MR. MEBANE:    No, Your Honor.     Thank you for your time.

    9              THE COURT:    Okay.   I appreciate it.

   10              Mr. Gerson, am I wrong when I say that I anticipate

   11    you would want to examine the witness who filed the affidavit

   12    today?

   13              MR. PHILIP GERSON:     No, you are not wrong.      You are

   14    definitely not wrong but --

   15              THE COURT:    Then before we do, can I take a quick

   16    break?

   17              MR. PHILIP GERSON:     Of course.

   18              THE COURT:    So just two minutes, grab your witness, or

   19    five so that everybody gets the same chance I do, and I will

   20    see you back in a minute.

   21              (Thereupon, a recess was taken at 2:58 p.m.)

   22              THE COURT:    All right.    Mr. Gerson, did you want to

   23    have the witness called?

   24              MR. PHILIP GERSON:     Sure.

   25              THE COURT:    Okay.   I will ask you to come forward and
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    1    be sworn.

    2               THE COURTROOM DEPUTY:     Raise your right hand.

    3                               MONICA BORCEGUE

    4    Having been first duly sworn on oath, was examined and

    5    testified as follows:

    6               THE COURTROOM DEPUTY:     Thank you.    Please be seated.

    7    State your name.    Can you spell your first and your last name

    8    for the record.

    9               THE WITNESS:   Sure.    Monica, M-O-N-I-C-A.     And my last

   10    name is Borcegue, B-O-R-C-E-G-U-E.

   11               THE COURT:   Mr. Gerson.

   12               MR. PHILIP GERSON:     Thank you, Your Honor.

   13                              DIRECT EXAMINATION

   14    BY MR. PHILIP GERSON:

   15    Q    Ms. Borcegue, you are a lawyer, are you not?

   16    A    I'm not.

   17    Q    How long have you worked for Carnival?

   18    A    13 years this month.

   19    Q    And how many times have you been asked to appear as a

   20    corporate representative?

   21    A    For deposition, over 150.       I have lost count at this

   22    point.   For trial, I believe I have done two, three trials at

   23    this point.    And this is my first time at a hearing.

   24    Q    Have you attended hearings before?

   25    A    No.
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    1    Q    Did you read the transcript of a hearing that was held

    2    before Judge O'Sullivan in, I believe it was in May, end of May

    3    of this year?

    4    A    I did not.

    5    Q    Tell the Court what you did in order to investigate

    6    whether or not there were written logs for the subject bathroom

    7    for this case?

    8    A    Initially when I first got the discovery request, I was

    9    working on the file.     Just my personal experience, my

   10    experience from working these files, doing this research often,

   11    I had never seen a bathroom log as the ones requested.           I have

   12    never come across one.     I knew the answer was none.       It was

   13    just something that I knew from my personal experience on board

   14    the ships.    I go on for ship inspections for work.        I sail

   15    them, you know, for my own personal trips.         Like I said, I have

   16    been with this department for a very long time.         So the answer

   17    to me was none.    That's the answer I provided.

   18         Then I got an email at some point during our discovery

   19    where they wanted me to double-check to make sure because it

   20    was my understanding that there might be logs that existed at

   21    some point.    There was mention about a checklist or whatnot.

   22    So they asked me to go back and double-check.         Counsel asked me

   23    to go back and double-check with the ship.

   24         At that point I did so.      I do what I always do.      I go and

   25    reach out to the housekeeping manager on board the ship.           They
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    1    are my point of contact.      They are the ones that do this every

    2    day.    They are the ones that run the housekeeping department on

    3    board the ship so they should know best.        That's what I always

    4    do.

    5           At that point I reached out.     I believe it was sometime

    6    April 1 and 2.    I reached out.     I double-checked with them to

    7    make sure that there weren't any logs.        And I got a reply back

    8    on August 2 from the housekeeping manager who was present on

    9    the day of the incident.      He had actually assigned the hotel

   10    steward to clean that bathroom.       It was the same gentleman.       He

   11    at that point told me that they do keep bathroom logs and that

   12    they are kept for six months on board, that's the retention

   13    period for those bathroom logs.

   14           So I at this point forwarded the information to counsel,

   15    and at this point I took his word for what it was.          He's the

   16    one that does this on board the ships.        He's the one that knows

   17    best.    They are always my point of contact.

   18           So at this point it was my understanding that we did have

   19    logs, that they did exist, and that they were disposed of or

   20    whatnot after six months.      That's the retention period.

   21           So that's the information I testified to because it's the

   22    information that was relayed to me by the assistant

   23    housekeeping manager on board the ship.

   24    Q      And that answer, there are a couple of points I would like

   25    to clarify.    I believe you told us that it was always your
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    1    understanding over the long period of time you have worked for

    2    Carnival that no such documents did exist.         Then you said they

    3    told me to double-check.      Who is they?

    4    A    And I clarified that, counsel.        I'm sorry I just kept

    5    saying they.    My attorneys.    Once I gave them the information,

    6    I believe that was put into an interrogatory or discovery

    7    answer that there were none.      But they did come back to me,

    8    they being my attorneys, to double-check because there might be

    9    another document that we have overlooked, there might be some

   10    logs, there was something about how that assistant housekeeping

   11    manager might have known about a different log or whatnot.

   12         I didn't have an official document title.         I didn't know

   13    what kind of log it was.      But I was asked to double-check to

   14    make sure that there was nothing additional.         So that's what I

   15    did at that point.     I reached out to the assistant housekeeping

   16    manager.

   17    Q    What was your understanding of the reason or the factual

   18    basis for why someone would suggest to you that what you had

   19    known to be the case for many years was, in fact, incorrect and

   20    that you should reach out to a housekeeping manager again?

   21    A    It was my understanding that there were -- that there was

   22    something given to security, I believe it was, at that point

   23    when they investigated the incident that there might be an

   24    additional document that existed, that there were -- in other

   25    cases there might have been something that existed so that we
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    1    needed to double-check on that.       That was what I was told.       I

    2    was told to double-check the information because there could be

    3    something else that existed in other cases and that I should

    4    double-check.

    5         So I went ahead and I did that because I, you know, I had

    6    never seen any logs.     But if counsel is asking me to

    7    double-check, then that's what I'm going to do.         That's part of

    8    my job duties, so that's why I did that.

    9    Q    You just said there was something given to security.            What

   10    was the something?

   11    A    I'm not sure.     That part I'm not clear about.       Like I

   12    said, I was asked to double-check.       It's my understanding that

   13    during the course of the investigation, there might have been

   14    something that the assistant housekeeping manager might have

   15    given security.    I didn't speak to him personally.        I don't

   16    know.   That's something -- you know, that's not something that

   17    I spoke to him about.     I haven't spoken to him other than just

   18    the emails asking for the logs.       That's all I have ever spoken

   19    to him about.

   20    Q    In your position with the company, do you have the ability

   21    to contact the housekeeping manager yourself and to conduct a

   22    thorough investigation before information is given to

   23    Carnival's lawyers to put in answers to interrogatories?

   24    A    I can reach out to them.       I mean, I do email them often.

   25    If I wanted to reach out, you mean, via phone, or are you just
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    1    in general asking me if I communicate with them back and forth

    2    in any way?

    3    Q      I'm just trying to make the record clear as to whether you

    4    have the ability to do so as part of your investigation in

    5    order to be thorough and to give accurate discovery responses

    6    in your position as the corporate representative.

    7    A      I do have the ability to contact them, and I do.        That's

    8    what I do in and out every day.       That's my job.    That's what I

    9    have been doing.    I have been a litigation representative in

   10    this department for almost five years now.         It will be five

   11    years in January.     And I have been with the department for 13

   12    years.    So I'm thorough with what I do.      I have a good

   13    understanding of what my duties are, and it's what I do day in

   14    and day out every day.

   15    Q      What the name of the assistant housekeeping manager that

   16    you reference in the narrative answer you gave a few moments

   17    ago?

   18    A      His last name is Abuthalip.     His first name is, I believe,

   19    Shakebhava.    I'm probably butchering that name.

   20    Q      Well, that's close enough so we can distinguish him from

   21    other people who have been identified in the case.

   22           So when was it that he first told you that he thought

   23    there were logs that were kept?

   24    A      This was April 2.   That was his response to me on April 2

   25    when I emailed him April 1 asking for any logs to -- you know,
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    1    anything that existed.     He emailed me back and he emailed me

    2    back just the name of the hotel steward at that point.

    3         So I emailed -- I replied to him on April 2 and I said, my

    4    questions weren't really answered.       I need you to answer these

    5    questions specifically.      And I was very specific.      I don't

    6    remember verbatim what I typed out.        We have the emails, I'm

    7    sure.   But I did ask, are there any logs in the bathroom,

    8    anything kept maybe behind a door, something to that effect,

    9    like is there anything that we keep inside the bathroom to

   10    document when it was cleaned.       And if so, where do we keep

   11    these, how do we keep these, all of that.

   12         So he replied back and he said, note, we do keep bathroom

   13    cleaning logs, I believe it's something along those lines.

   14    Again, I didn't memorize the email, but we have the emails, I'm

   15    sure.   And they are destroyed or they are discarded after six

   16    months.   So that's what I took from him at that point.

   17         I was very specific.      I know that sometimes there is a

   18    language barrier between these people and us.         They are from

   19    different countries.     English is their second or third language

   20    sometimes.   So I try to be very specific with my request.

   21         And if we go back to that email, you can see I was

   22    extremely specific.     Even after I asked him and he emailed me

   23    back, I emailed him yet again because I wasn't satisfied with

   24    the answer he gave me.     So I did ask him specifically for any

   25    logs inside bathrooms, how do we keep them, if so, if we keep
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    1    them, et cetera.    And he wrote back, we have bathroom

    2    checklists or bathroom cleaning logs or whatever wording he

    3    used, but we only keep them for six months, we no longer have

    4    them.

    5         At that point I thought, well, maybe I am incorrect, maybe

    6    they have done something different on the ships, maybe this is

    7    what they are doing now.      I have to go by what he tells me.

    8    He's the assistant housekeeping manager on board the ship.           He

    9    knows better than I do what they do in and out.         So that's why

   10    I went and took his information for what it was.

   11    Q    So you are not telling us today that a language barrier

   12    accounted in any way for any misunderstanding between this

   13    gentleman and yourself, are you?

   14    A    I'm not saying that.      I don't know that for sure, sir.

   15    That's why I was very specific when I go back and forth.           Like

   16    I said, this is something I do in and out every day.          This is

   17    my job.   So I deal with these people often.        I'm not trying to

   18    blame this on a language barrier or anything like that, but I

   19    do need to make that clear as to why I wrote back.          And I was

   20    very specific with my request because I didn't want anything to

   21    fall through the cracks.

   22         Whenever I feel like they don't grasp exactly what I am

   23    asking for, I email back and I'm very detailed and I try to get

   24    that across because I do know that these people sometimes just

   25    read things and don't interpret them correctly.         And I just try
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    1    to make sure things are as clear as possible.         I do the best

    2    that I can to get the correct information.         That is my job.

    3    Q    What is it that prompted you to reach out to Ms. Draganova

    4    in, as you say in paragraph 11 of your affidavit, in

    5    preparation for this hearing?

    6    A    We needed to be prepared for today, so at this point I

    7    wanted to go shoreside.      I wasn't getting much from the ship

    8    itself, not just in this case, in other cases to be honest.

    9    I've -- they've taken very, very long to reply to me on other

   10    cases and on other issues.      I knew that this was happening

   11    today so I needed the information as quickly as I could.

   12         At this point I did what I don't usually do just because I

   13    don't go shoreside, I don't bother the vice president of the

   14    department, I don't bother the people directly under him.

   15    These are fleet housekeeping managers that are shoreside.           I

   16    don't go to them because they are shoreside.         I go directly to

   17    the ships because that's the main point of contact.          But for

   18    today and because I needed the information as soon as possible,

   19    I needed to help counsel get their answers for today, I went

   20    ahead and I did email shoreside housekeeping.         And I wanted to

   21    make sure that they knew what was going on.         I wanted them to

   22    answer my questions at that point just so that we could be

   23    prepared for today's hearing.

   24    Q    You understand based on your experience that in federal

   25    court, a party has a duty to update its answers to
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    1    interrogatories, don't you?

    2              MR. MEBANE:    Objection, Your Honor.      She's not an

    3    attorney.

    4              THE COURT:    Overruled.

    5              THE WITNESS:    I mean, I'm not an attorney.       I don't

    6    put them together.     I just get the information.      But I do know

    7    that it is a pretty important job that I do, and I try my best

    8    to understand everything and follow everything as it needs to

    9    be.

   10    BY MR. PHILIP GERSON:

   11    Q     Do you understand that there is a duty to update, or are

   12    you learning that for the first time today?

   13    A     I'm really not sure.     I don't know what the law requires.

   14    I don't know how that works.      I know that in the past we have

   15    updated certain answers.      I don't know what the rules behind

   16    all of that may be.     I'm not an attorney, but I do know that

   17    they do get updated from time to time.

   18    Q     What is it that prompted you to reach out to

   19    Ms. Draganova?    What happened in your knowledge base that in

   20    anticipation of this hearing made you question what you had

   21    been told by the assistant housekeeping manager who was on the

   22    ship on the day of the incident?

   23    A     Well, because we needed to have all of the answers

   24    possible for today.     We needed to be prepared for today.        So I

   25    went ahead and I guess at this point would be triple-check with
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    1    housekeeping just to make sure that if we did have these logs,

    2    I wanted to verify that they were, in fact, being kept for six

    3    months.    I wanted to see a blank sheet.      I wanted to see

    4    exactly what they look like because I still to this day have

    5    not seen one obviously.      I wanted to get all of the information

    6    as clear as we could for today's hearing.        So that's what

    7    prompted me.    I just wanted to, I guess, triple-check at this

    8    point, you know.

    9    Q    Why didn't you feel the same need to triple-check before

   10    you gave three different corporate representative depositions

   11    speaking on behalf of Carnival under oath in this case?

   12    A    I guess that was my mistake for not triple-checking.           I

   13    don't have an answer for you, sir.       I took what the

   14    housekeeping manager on board told me -- or assistant, I

   15    always -- assistant housekeeping manager on board told me, and

   16    I took that to be what it was.       He is the one on the ship.      He

   17    is the one who sees this day in and day out as I do my job day

   18    in and day out shoreside.

   19         I'm supposed to rely on the ship.        If I had to go back and

   20    triple-check everything I do every day, I would get nothing

   21    done.   So I do my job as best as I can.       I'm honest when I

   22    testify.   I take my job extremely seriously.        And I wouldn't do

   23    anything to put my job in jeopardy.        I wouldn't put anything on

   24    the company either.     I do my best.

   25    Q    But you had the statement of Mrs. Geronimo that was taken
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    1    on March 30 of this year.      You had presumably talked to

    2    Ms. Geronimo well before Carnival answered the interrogatories

    3    and well before you gave a corporate representative deposition.

    4         How is it that -- or please explain why it is that you

    5    didn't learn then from your discussions with her whether or not

    6    she was creating any documentation to establish that she was

    7    doing her job and keeping this bathroom with chronic leaking

    8    problems safe?

    9    A    Sir, I don't know that I ever spoke to Ms. Geronimo.           I

   10    have never spoken to her.      So I don't know where that -- I have

   11    communicated with my attorneys that may or may not have reached

   12    out to her at this point I don't remember.         I handle so many

   13    cases, I do so many, many depositions, I don't remember exactly

   14    what my testimony was.

   15         However, I know I have personally never spoken to her.             If

   16    counsel has and I have put them in touch or somebody from my

   17    department has put them in touch, that's information that maybe

   18    I was prepared for for my deposition, and I don't know how much

   19    I can get into that at this point.

   20         But I've never personally spoken to her.         I have the

   21    information from our records, from our file.         And again, I

   22    testified to the best of my knowledge.        There's nothing that I

   23    hide.   There's nothing that I try and lie about that's -- and

   24    I'm sorry I get emotional.      Lately in this case has been very,

   25    very emotional for me because it feels like a personal attack
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    1    on what I do for the company.       I have never been in this

    2    position before.    I'm sorry if I'm not handling it as

    3    professionally as I should, but I feel like I am being

    4    personally attacked for something that I do the best that I

    5    can.

    6           I do apologize.   I realize it's not...

    7    Q      It's become clear in this hearing that the core of the

    8    defense to this case, of Carnival Corporation, is the evidence

    9    that could be given by Housekeeper Geronimo if, as you said

   10    earlier in my examination of you this afternoon, that you have

   11    access to Ms. Geronimo, if she is, as Mr. Mebane said to the

   12    Court, an eyewitness, how is it that you would not have emailed

   13    or phoned and talked to her before providing any discovery

   14    responses or giving any corporate representative testimony in

   15    this case?

   16    A      Because that's not what I do.     That's not how I do my job

   17    day to day.    I have accident reports that I can rely on just to

   18    answer and to get the information to counsel.         I have accident

   19    reports.    I have witness statements.      I have several things

   20    that I provide to counsel.      And they do their jobs.      They have

   21    a job to do as well.

   22           And you guys, I know, can take depositions of these crew

   23    members.    And we do have their locations and we do provide

   24    them.    Again, I'm not an attorney.     I don't know how it all

   25    works.    But she was available for deposition, I'm sure, if you
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    1    guys wanted to talk to her directly.

    2         I don't do that.     I have access to her, sure.       I have her

    3    information.    I can probably reach out to her.       I can visit her

    4    on a ship.    There's a number of things I can do, but that's not

    5    how I do my job.

    6         Perhaps if there are any suggestions that Carnival can,

    7    you know, receive, if that's something that you are suggesting

    8    to us from now in the future, maybe I can take that back to my

    9    office and maybe we can change the way we do things in the

   10    future.

   11         But for the time that I have been in my position, I have

   12    not once interviewed a crew member, gone back to kind of

   13    reinvestigate something that's already been investigated by

   14    security on board.     That's their job.     They do that job.     They

   15    prepare these reports.     And that's the information that we all

   16    rely on to do our jobs, counsel to do theirs, me to do mine.

   17    That's how we do things in my department.

   18         So if from here on out we need to change something to

   19    avoid something like this happening, we will definitely look at

   20    that.   And we have already looked at different things that I

   21    can do personally to do my job better in the future because,

   22    believe me, this is the last thing I want to happen.

   23         I do the best that I can, and this is absolutely not how I

   24    want things to go for Carnival, for myself, and for everybody

   25    involved.    So again, I do have access to speak to these people,
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    1    but it's not just something that I do on the regular.          It's

    2    not.

    3    Q      Is that decision not to interview the people who are

    4    eyewitnesses to an incident before sitting as a corporate

    5    representative in a deposition something that you've been

    6    trained to do by Carnival and instructed to do it that way by

    7    Carnival, or is this simply your own doing?

    8    A      Absolutely not.   I haven't ever actually received real

    9    official training.     It's just on-the-job.     It's the nature of

   10    what I do.    I handle many cases.     I just don't have the time,

   11    honestly, to go and schedule -- you know, these people don't --

   12    for example, hotel storage, she doesn't have an email address

   13    on board that I can reach her easily as I can, for example, the

   14    housekeeping manager or a department head.         So for starters, I

   15    would have to request through a housekeeping manager to speak

   16    to her.

   17           I don't know at that point if they would let her sit at a

   18    computer or if they would have her call me or if I could call

   19    her.    I know that we do that.     Our adjustors would put our

   20    counsel in touch with a certain crew member via their

   21    department head.    So I can do that.

   22           But it's just so many steps and it's so much that I've

   23    just -- I rely on the information that I have, and I have never

   24    had an issue before.     And sometimes when we do need to speak to

   25    these people, it does happen, and it can happen, but usually
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    1    it's counsel that reaches out because I have things to do that

    2    are aside from all of that.

    3         I don't do the interviewing.       It's usually, you know, the

    4    attorneys on the case that do the interviewing, and then they

    5    relay information to me, and that's how we all work together.

    6         You know, it's just the way it's been for years.          It's not

    7    anything that I have been trained to do or told what to do.

    8    It's just the way it kind of works out.        I email mostly, and

    9    that's how I communicate with the ships, but that's basically

   10    all I do.   I don't ever interview anybody.

   11              MR. PHILIP GERSON:      I have no further questions of the

   12    witness at this time.

   13              THE COURT:    Okay.   I do.

   14              First tell me how to say your last name.

   15              THE WITNESS:    Borcegue.

   16              THE COURT:    Ms. Borcegue, can you give me a fulsome

   17    description of your job duties.

   18              THE WITNESS:    Sure.   So I assist both in-house and

   19    outside counsel with discovery requests.        Usually it would

   20    be -- I get mostly emails with interrogatory requests, with

   21    requests for production, anything that they need.          So I will

   22    pull documents, whether they be ship drawings or deck plans or

   23    policies and procedures for certain things, any document that

   24    would answer whatever they need for discovery.         I also do prior

   25    incident searches.     I search our accident report database.
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    1              THE COURT:    Slow down.    I don't know what you are

    2    saying, honestly.

    3              First, what is your job title?

    4              THE WITNESS:    Litigation representative.

    5              THE COURT:    Are you the litigation representative or

    6    are you a litigation representative?

    7              THE WITNESS:    The.

    8              THE COURT:    I have heard you refer to a department.

    9    Can you explain to me structurally where you are in that

   10    department?    Are you the apex?

   11              THE WITNESS:    No.    So our department is legal

   12    services.   We have a VP.     He's an attorney.     He doesn't

   13    litigate for our department, but he's our vice president.

   14              THE COURT:    What is his name?

   15              THE WITNESS:    Bob Kirk or Robert Kirk.

   16              THE COURT:    Is Bob Kirk the person that you were

   17    identifying in one of your answers to Mr. Gerson when you said

   18    I don't normally bother the vice president?

   19              THE WITNESS:    No.    I was referring to the housekeeping

   20    department vice president shoreside.

   21              THE COURT:    Okay.    So Bob Kirk is the vice president?

   22              THE WITNESS:    For legal services.

   23              THE COURT:    For legal services.     He is your boss?

   24              THE WITNESS:    He is my boss's boss.      I don't report

   25    directly to him.    I was kind of giving you an overview of how
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    1    it works.

    2               THE COURT:   Very helpful.    So you report to?

    3               THE WITNESS:   I report to Suzi Vazquez, Suzanne

    4    Vazquez.    She's also an attorney.     She's director of guest

    5    claims.

    6               THE COURT:   Okay.   And then there's you?

    7               THE WITNESS:   Right.

    8               THE COURT:   And that is?    I'm sorry.    You told me the

    9    title.

   10               THE WITNESS:   Litigation representative.

   11               THE COURT:   And you are Carnival's litigation

   12    representative?

   13               THE WITNESS:   Correct.

   14               THE COURT:   So you are the point of contact through

   15    whom all written discovery requests come for Carnival?

   16               THE WITNESS:   That's correct.

   17               THE COURT:   So you are -- I mean, I have seen your

   18    name many times in depositions, so I know you were the person

   19    who appears as a corporate rep, right?

   20               THE WITNESS:   I do.

   21               THE COURT:   And you are also the person then who

   22    compiles Carnival's discovery responses?

   23               THE WITNESS:   Correct.    I don't prepare

   24    interrogatories or anything like that.        I don't actually

   25    prepare the documents.     I'm not a paralegal either.       I just
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    1    assist in gathering all the information they need basically.             I

    2    work with everybody often so we already have our system.           They

    3    get copies of our files and then whatever they don't have in

    4    the copy of the file --

    5              THE COURT:    Who is they?

    6              THE WITNESS:    Any outside attorney or outside counsel,

    7    even in-house.    In-house it works a little bit different just

    8    because we have access to our same computers.         But for outside

    9    counsel, mostly we have a system going where they request

   10    whatever is not in the file.      And when they request things, I

   11    go and I either have them already, I know exactly where to go

   12    look for them, I have access to certain systems, and if I

   13    don't, I reach out to the ships.

   14              THE COURT:    Okay.   In this case in particular, so for

   15    Ms. Ledet, discovery requests came in earlier this year, is

   16    that right?

   17              THE WITNESS:    I believe so, yes.

   18              THE COURT:    When you first received them, can you tell

   19    me how you received them, whether it was in-house or

   20    out-house -- sorry, outside counsel that you received it from?

   21              THE WITNESS:    Initially, I'm not sure, initially.        I

   22    do remember there was an email from Mr. Kirk at some point

   23    saying that it had been given to outside counsel, it had been

   24    assigned to outside counsel.      So I don't remember if I started

   25    doing anything for an in-house attorney.        I would have to refer
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    1    back to my emails.      I want to say it was around February that I

    2    started working on this, so I don't recall.

    3               THE COURT:    It's okay.   What I'm really getting at, I

    4    was hoping to jog your memory by giving you a chronology, is

    5    how the discovery responses got responded to here.          I was

    6    hoping I could trigger I received them from.

    7               Do you remember receiving a request from anyone to

    8    respond to discovery requests for Ms. Ledet?

    9               THE WITNESS:    Yes, I remember sending information at

   10    some point with some responses, and I usually send everything

   11    piece by piece.    Like, I want to get things out.

   12               THE COURT:   To whom?

   13               THE WITNESS:   To mostly outside counsel.       In-house

   14    again, it's different because I can walk over and hand it to

   15    them.

   16               THE COURT:   I want to stay with Ms. Ledet for a few

   17    minutes.

   18               THE WITNESS:   Okay.    So I would get the request, and

   19    whatever I could answer, because I either already know, have,

   20    have access to, et cetera, I will send out those first.           And

   21    usually the email goes with, hey, here's some of the stuff,

   22    other stuff is pending, you will hear from me as soon as

   23    possible.

   24               THE COURT:   And if I understood your answer correctly,

   25    the response with respect to the bathroom you knew from
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    1    experience?

    2              THE WITNESS:    Correct.

    3              THE COURT:    Okay.   With respect to interrogatory

    4    No. 7, I will jog your memory, there is a request here that the

    5    plaintiff propounded.

    6              It says, state and describe the housekeeping and/or

    7    cleaning schedule for the shift when the subject incident

    8    occurred and identify last time any and all cleaning,

    9    housekeeping, and our ship personnel were inside the bathroom

   10    prior to when the plaintiff was injured in this case.

   11              I don't know if that jogs your memory, but that is a

   12    request that came in.     Carnival's answer to it is, stewards are

   13    assigned to routinely clean/maintain the public bathrooms while

   14    on their shift.    On the date of the incident, the bathroom was

   15    being cleaned every 10 to 15 minutes.        Vinarose Geronimo was

   16    assigned to the subject bathroom.

   17              So that was a long leadup to my question which is

   18    going to be, do you know how Carnival pulled together the

   19    information that went into this response?        And by that, I'm

   20    asking, was it you by yourself, or did you get other help?

   21              And do me a favor.     Keep your answers narrow because

   22    I'm not looking to cause you to waive any type of privilege

   23    that your client might have or that you might have.

   24              THE WITNESS:    Right.

   25              THE COURT:    So do you know how the answer was
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    1    compiled, whether it was you personally or with help from

    2    others?

    3              THE WITNESS:    I wouldn't have put the answer together

    4    for that as stated by, you know, what you read right now.           I

    5    didn't type that out, I don't believe.        I don't answer the

    6    interrogatories.

    7              THE COURT:    Right, you are not responsible for the

    8    final language.    That, I understand.

    9              THE WITNESS:    Correct.

   10              THE COURT:    But the information that on the date of

   11    the incident, the subject bathroom was being cleaned every 10

   12    to 15 minutes, do you know whether you are the human who

   13    compiled that information or whether someone else participated

   14    in collecting that information?

   15              THE WITNESS:    I can't honestly answer that.       I don't

   16    know.

   17              THE COURT:    I appreciate you not straining or

   18    guessing.   I just wanted to know if you knew the answer.

   19              I may have cut you off as you were answering my

   20    question to give me a fulsome description of your job duties.

   21              THE WITNESS:    Okay.

   22              THE COURT:    So I know that you have told me that you

   23    assist in both in-house and outside counsel discovery requests

   24    and that mostly you receive those via email.

   25              THE WITNESS:    Yes.
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    1              THE COURT:    And I know you sit for deposition.

    2              THE WITNESS:    I do.

    3              THE COURT:    Is there other things that you want to --

    4    that are part of your job duty descriptions currently?

    5              THE WITNESS:    No.   I mean, basically -- just as a

    6    whole, just anything they need for discovery, whatever it is,

    7    whatever document or, you know, schedule, policy and procedure,

    8    prior incident search, whatever it is that will answer whatever

    9    they need, that's what I do.

   10              THE COURT:    Okay.   Does anyone else -- I think I

   11    already asked you this.      Carnival does not have anyone who sits

   12    as a corporate representative, right?

   13              THE WITNESS:    For the most part, no.      Sometimes the

   14    adjuster might handle a deposition.        Before I had this

   15    position, every claims adjuster would be responsible for

   16    corporate rep depositions for their own files.         But then we

   17    kind of rearranged things so that everything was funneled

   18    through me so that I would be the sole person to do that just

   19    because it was easier to have one person.

   20              And to be honest, I like it.       It was just a thing that

   21    was decided.    And it was an opportunity for me to be promoted

   22    within our department.     That's why we did what we did.

   23              So at that point it was decided that -- okay.          As far

   24    as corporate representative depositions go, it's always going

   25    to be me except for maybe if I'm out of town, they need
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    1    somebody right away, or I'm doing one one day and it needs to

    2    be that day, certain scheduling issues.

    3              There also might be other people that are best suited

    4    for certain areas at times.      At times they want to get into,

    5    for example, flooring information and, you know, things that I

    6    don't usually handle.     So instead of preparing me for that,

    7    they go to somebody else who is actually more involved with

    8    those departments and can answer questions better than I can.

    9              THE COURT:    But there's no other you?

   10              THE WITNESS:    Correct.    With my title, no.

   11              THE COURT:    It's been represented here today that

   12    bathroom logs did exist 2011 and prior.        Are you aware of that?

   13              THE WITNESS:    Yes.   That's what we found out yesterday

   14    once we started looking into all of this for today.          That's

   15    something that was done many, many years ago, but --

   16              THE COURT:    Who told you that?

   17              THE WITNESS:    I believe that information came directly

   18    from the vice president of the housekeeping department.

   19              THE COURT:    And you told me that person's name, but I

   20    didn't write it down.

   21              THE WITNESS:    Stephen, and his last name, I believe,

   22    is Kristofferson.

   23              THE COURT:    Okay.

   24              THE WITNESS:    I know the information came from him.

   25    He did not tell me personally.       We all kind of spoke to them
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    1    yesterday and we all -- I mean my supervisor, Suzanne, she

    2    spoke to him.    I believe it was over the phone.       I was not in

    3    the office at that point in time.       I had stepped out.     But when

    4    I stepped back in, she did let me know that she did speak to

    5    him and that was something that was told to her directly from

    6    Stephen.

    7               THE COURT:   Okay.    Stephen?

    8               THE WITNESS:   Yes.

    9               THE COURT:   I don't know if I spelled it right.

   10               So is yesterday the first time to your knowledge that

   11    Mr. Kristofferson was involved in any discovery issue in this

   12    case?

   13               THE WITNESS:   Yes, absolutely.     Like I said, I don't

   14    usually reach out to the vice presidents.        That's not something

   15    that I do.    I don't -- you know, there is no need for that.

   16    There's other people that have knowledge, and I don't always

   17    need to bother a vice president to get what I need.

   18               THE COURT:   And you told me that he was the VP of

   19    housekeeping, right?

   20               THE WITNESS:   Correct.

   21               THE COURT:   Now, you have also been using the term

   22    shoreside.

   23               THE WITNESS:   Right.

   24               THE COURT:   What do you mean by that?

   25               THE WITNESS:   In-house at our headquarters in Miami.
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    1              THE COURT:    I thought you meant like a headquarters --

    2              THE WITNESS:    Right.

    3              THE COURT:    -- as opposed to local to the ships.

    4              THE WITNESS:    Correct.    So there's shipboard and then

    5    there's shoreside.

    6              THE COURT:    But it's still here in Miami, right?

    7              THE WITNESS:    Yes.

    8              THE COURT:    And you sit here in Miami, right?

    9              THE WITNESS:    I do.

   10              THE COURT:    Are you all in the same building?        When

   11    you refer to shoreside, you are talking about the same

   12    building?

   13              THE WITNESS:    For the most part.     We do have buildings

   14    in Miramar, but it, you know --

   15              THE COURT:    I didn't know that.     And your boss, Suzi

   16    Vazquez, is yesterday the first time that she was involved with

   17    respect to this discovery issue and the bathroom logs?

   18              THE WITNESS:    Yes.

   19              THE COURT:    Two questions.     One, generally, do you

   20    work with a lawyer as you are propounding discovery responses

   21    on behalf of Carnival, whether it's Suzi or someone else

   22    in-house?   I don't know if there are other lawyers, but do you

   23    generally work compatibly with a lawyer?

   24              THE WITNESS:    I mean, define work with.       I do

   25    sometimes have questions, but it's not like they oversee what I
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    1    do directly.    It's -- you know, I do what I do and I know where

    2    to go, which departments to contact, and that's, you know --

    3              THE COURT:    Then let me ask you, specific to this

    4    case, was Suzi's involvement yesterday the first time that an

    5    in-house lawyer from Carnival was involved?

    6              THE WITNESS:    I would say so.

    7              THE COURT:    It's the first time you involved a lawyer

    8    was Suzi?

    9              THE WITNESS:    Correct.    I mean, I can't -- I work with

   10    outside counsel.    For example, in this case, I have been

   11    working with outside counsel from the very beginning back and

   12    forth on the case, but that's why I was asking if you could

   13    clarify what you mean by work with.

   14              THE COURT:    Sure.   And so that's why I got to it

   15    specific to this case.     You called -- you can call in an

   16    attorney.    Yesterday you called in an attorney, but it was the

   17    first time she had been called into the case?

   18              THE WITNESS:    Right.

   19              THE COURT:    So you hadn't previously consulted her on

   20    this case?

   21              THE WITNESS:    No.   The reason why I involved her was

   22    just because we did have the hearing.        And sometimes when I

   23    email -- for example, if I were to email the VP of housekeeping

   24    directly, I wouldn't get an answer as quickly.         If I copy our

   25    claims director, she obviously has a better relationship with
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    1    him.   He doesn't know who I am.      So if we need answers quick

    2    and I need to move mountains to get them, that's what I do.           I

    3    involve her because she is my supervisor and she has a little

    4    more pull than I do.     That's why I kind of involved her

    5    yesterday, because I needed the information and I needed it

    6    quick.

    7              THE COURT:    So have you attempted to reach out to the

    8    assistant vice manager who told you originally that there were

    9    logs and the retention policy was six months?

   10              THE WITNESS:    The assistant housekeeping manager,

   11    after that point, no, I never replied back to him.

   12              THE COURT:    I mean, actually -- I mean, it's my

   13    understanding that you may have learned -- was it just

   14    yesterday that you learned that there are no bathroom logs?

   15              THE WITNESS:    Yes.

   16              THE COURT:    And again, that was told to you by the --

   17    by Stephason?

   18              THE WITNESS:    Stephen, yeah.     That's how we found out

   19    yesterday, through him, and I believe her name is Dima.           It's

   20    people that work below him.      Those are the fleet housekeeping

   21    manager shoreside.

   22              THE COURT:    Did anyone tell you this personally or you

   23    are relying on Suzi Vazquez?

   24              THE WITNESS:    No, this was an email.      This was a reply

   25    that I got via email to my email to them asking,
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    1    double-checking, triple-checking at this point.

    2               THE COURT:   Who was the person who signed that email?

    3               THE WITNESS:    I believe it was Dima Draganova.

    4               THE COURT:   Draganova is?

    5               THE WITNESS:    She's fleet housekeeping shoreside.

    6    She's under Stephen Kristofferson.

    7               THE COURT:   Do you have access to that email?

    8               THE WITNESS:    I might.   I don't know if I have that

    9    email here.

   10               THE COURT:   Did she describe in it steps that she took

   11    to ascertain whether there are or are not logs?

   12               THE WITNESS:    I would have to read the email.       I know

   13    she said they didn't exist, but I don't remember exactly what

   14    it said.

   15               THE COURT:   Do you have any recollection at that point

   16    of her saying, I've gone, I've checked, I have asked, or does

   17    it just say there are no logs?

   18               THE WITNESS:    I don't want to give you information

   19    that I don't recall.      Like I said, I involved my boss at this

   20    point, so it's kind of all been a chain email.         And she took

   21    over the response, and I also responded.        It's just we have all

   22    kind of been dealing with it.       And she got a phone call from

   23    Mr. Kristofferson at the same time.        It's all kind of been at

   24    the same time.    I didn't follow up with her until I spoke to

   25    Suzi, it was, that I wrote back.       But I would have to read the
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    1    email to give you that information.

    2               THE COURT:   Did these prehearing efforts to

    3    investigate the bathroom logs, was it all just yesterday or was

    4    there activity last Thursday and Friday as well?

    5               THE WITNESS:   I believe I sent out the email at some

    6    point maybe Friday.

    7               THE COURT:   To whom did you email?

    8               THE WITNESS:   That was the email to Ms. Draganova,

    9    there was somebody else housekeeping that hasn't been involved

   10    but they were copied, and Mr. Kristofferson.

   11               THE COURT:   You copied Mr. Kristofferson?

   12               THE WITNESS:   Yes.   And that's when I copied Suzi as

   13    well and outside counsel.

   14               THE COURT:   I had taken a note that yesterday was the

   15    first time that Suzi was involved, but it was really last

   16    Friday?

   17               THE WITNESS:   She was copied on the email, yes, but

   18    she hasn't actually been involved.       I take involved to mean

   19    that she was actually on the phone or answering an email or

   20    whatnot.   Everybody was copied on this email Friday, but we

   21    didn't get the responses until yesterday.

   22               THE COURT:   Okay.

   23               THE WITNESS:   We are closed over the weekends, so if,

   24    you know...

   25               THE COURT:   So the confirmation that you are relying
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    1    on in saying that there is no logs, that all came from

    2    headquarters here in Miami, right?

    3              THE WITNESS:    It did, yes.

    4              THE COURT:    Has anyone gone back to the Valor to ask

    5    whether or not there are bathroom logs?

    6              THE WITNESS:    Not to -- well, I don't know what they

    7    did.   I don't know what their efforts were when they replied to

    8    my email.   I'm not sure if they went to the ship and then

    9    answered me or if that is just something that they know because

   10    they are housekeeping.     I didn't ask.

   11              THE COURT:    Okay.   Let me scan, you know, my notes

   12    real quick to see if I have any other questions for you.

   13              I appreciate your patience with me.        I'm learning

   14    about your industry one case at a time.

   15              THE WITNESS:    No worries.    Thank you.

   16              THE COURT:    Mr. Mebane, did you have any questions

   17    that you wanted to ask your witness?

   18              MR. MEBANE:    No, Your Honor.

   19              THE COURT:    Mr. Gerson?

   20              MR. PHILIP GERSON:     No, Your Honor.

   21              THE COURT:    Thank you so much for coming forward and

   22    testifying.

   23              THE WITNESS:    Thank you.

   24              THE COURT:    I will excuse you.     You can stay in the

   25    courtroom now unless anyone sees that differently.
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    1              I have, as a housekeeping matter, been referring to

    2    the interrogatories that have not been made part of an exhibit

    3    to this hearing.    So I am going to identify this as Exhibit 1

    4    and ask you, Mr. Gerson, to file the complete interrogatories

    5    after the hearing, as the local rules require under 5.3.           I am

    6    treating it as your exhibit since you handed it to me.

    7              I will give you both back the floor because I have

    8    thoughts, but I want to hear yours first.

    9              MR. PHILIP GERSON:     Judge, the only thing that I

   10    really would add is I think it would be helpful to the Court to

   11    read the transcript of the May 30 hearing that we had before

   12    Magistrate O'Sullivan.

   13              THE COURT:    Is it part of the docket?

   14              MR. PHILIP GERSON:     I believe it is.     It's been

   15    transcribed.    If it hasn't been filed, I will see to it it's

   16    done.

   17              THE COURT:    I have access to the DAR.      If it's not a

   18    transcript, don't incur the cost.

   19              MR. PHILIP GERSON:     We had it transcribed anyway.

   20              THE COURT:    Okay.   You said which date is the hearing?

   21              MR. PHILIP GERSON:     May 30.

   22              THE COURT:    I see May 30.    Okay.   That I can do.

   23              With that, Mr. Gerson, I had asked you what you want,

   24    what is your ask.     And your position is that you think the jury

   25    should hear what, that there was this discovery dispute and the
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    1    spoliation motion and how it resolved?        I mean, it's a trial

    2    within a trial.    That's the relief you are seeking?

    3              MR. PHILIP GERSON:     Well, that was what Judge Goodman

    4    ordered in the -- I believe it's the Perez case.          I handed the

    5    cases to the clerk a few moments ago.

    6              Another alternative would simply be a ruling based

    7    upon this record that the elements of dangerous condition and

    8    notice to Carnival are established as a matter of law as a

    9    sanction so that the Court's ruling does not require reopening

   10    the discovery and going back and taking more depositions and

   11    doing more judicial labor to get us back to where we should

   12    have been in the first place.

   13              THE COURT:    Okay.

   14              Mr. Mebane?

   15              MR. MEBANE:    Thank you, Judge.     I find it easier in

   16    Miami just to say Mebane, and it always gets spelled right

   17    every time.    I can say that.    My wife's from Spain.

   18              Your Honor, I think that this is -- we appreciate the

   19    Court's time.    We have spent all afternoon and we do appreciate

   20    that.   And I'm sure Mr. Gerson does as well.

   21              We don't believe that any kind of essentially directed

   22    verdict on notice is appropriate or warranted under the

   23    circumstances.    I mean, Ms. Borcegue, when she first got the

   24    information requesting the log, was right.         She said they don't

   25    exist, I have never seen them, I have never had to produce
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    1    them.    She was right.    Only at the insistence of Mr. Gerson --

    2              THE COURT:    I don't have evidence in front of me that

    3    I would be satisfied with that the logs don't exist.

    4              MR. MEBANE:     Again, I would like to find that out

    5    myself.   But we are told now from the people shoreside, they

    6    don't.

    7              THE COURT:    I have tremendous respect for Ms. Borcegue

    8    and the very difficult position that Carnival has put her in,

    9    but she has testified to no firsthand knowledge.          She is

   10    relying on persons who responded to her yesterday and, to her

   11    credit, could not tell me whether or not that email reflected

   12    what investigative steps had been taken, what the base of her

   13    knowledge was.

   14              As I sit here, I'm not in a position to make a finding

   15    that the logs don't exist and that Carnival never had them.

   16    The email hasn't been advanced to me.        A witness with competent

   17    knowledge hasn't been advanced.

   18              And by competent, Ms. Borcegue, I mean first hand.

   19              The testimony is based on the hearsay statements of an

   20    unidentified witness without any asserted, even proffered,

   21    basis for that person's knowledge.

   22              So I'm in a different position, I think, than you are

   23    in terms of the assumptions that I am willing to make.

   24              MR. MEBANE:     And, Your Honor, I mean, I understand.        I

   25    do not know, and as Ms. Borcegue testified, she does not know
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    1    what Ms. Draganova may have done to determine whether or not

    2    there was a retention policy which was really why we wanted to

    3    go there in the first place.      Show me the policy.      This guy on

    4    the ship says it's six months.       Where is it?    We can't find it.

    5    We don't know where it is.      And then she goes to Ms. Draganova.

    6    And whether or not Ms. Draganova had personal knowledge, she

    7    replies, we don't do that.

    8              THE COURT:    I have one email that says a log exists

    9    from the person who works on the ship, and I have one email

   10    from a person who doesn't work on the ship and says it doesn't

   11    exist.

   12              MR. MEBANE:    I see the Court's point.      I mean,

   13    obviously is that --

   14              THE COURT:    And so you understand too that,

   15    notwithstanding my challenge to Mr. Gerson when we first came

   16    out here and I said how are you going to use this, you

   17    understand it was the defendants that interjected the

   18    importance of the document.      The defendants, the heart of your

   19    notice defense -- as far as I can tell and I only have one page

   20    of interrogatories, I admit.      But the answer to the

   21    interrogatory that functionally asks you to explain how you

   22    will assert a lack of actual notice or constructive notice is

   23    interrogatory No. 17 that asks you to identify the cleaning

   24    schedule and the last time any person was in that bathroom with

   25    the responsibility for checking and maintaining it.
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    1              I mean, you agree with me that is -- tell me how you

    2    are going to disprove notice.       And your answer was, on the date

    3    of the incident, the subject bathroom was being cleaned every

    4    10 to 15 minutes.     So Mr. Gerson said, how do you know that.

    5    And you answered, there are bathroom logs.         You put them

    6    directly at issue.

    7              So, I mean, you and I would see, prior to that answer,

    8    the importance of the bathroom log in the same way.          It either

    9    does or doesn't show an initial, and it either does or doesn't

   10    show a time, we think, based on our outside-of-this-courtroom

   11    experience with bathroom logs.

   12              The problem is those are hypothetical bathroom logs

   13    that we have seen as Denny's, not that we frequent Denny's, but

   14    that's a different story.      The point is we have no idea.       All

   15    we know is that in this case, in response to Ms. Ledet,

   16    Defendant Carnival said, I have a defense to actual or

   17    constructive notice because on the day of the incident, the

   18    public bathroom was being cleaned every 10 to 15 minutes.            How

   19    do you know that?     Because there's logs.

   20              MR. MEBANE:    Your Honor, that's because of

   21    Ms. Geronimo.    Ms. Geronimo is the person doing it.

   22              THE COURT:    Except that the testimony was by the

   23    corporate representative -- and not to her fault.          I mean,

   24    having heard the process that Carnival undertakes for discovery

   25    responses, her testimony was in direct answer to Mr. Gerson's
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    1    question, what is your basis for that, there's logs.

    2              And I pressed both of you, where else does she

    3    identify another basis for her knowledge.        I understand you are

    4    extrapolating from Mr. Gerson pushing through her examination

    5    of the witness statement of Ms. Geronimo that it's fair to

    6    assume or that she otherwise knew, but that's not what she

    7    said.   And that's her sworn testimony on which the plaintiff is

    8    allowed to rely and you are stuck with.

    9              So the heart of your notice defense, it's not based on

   10    a log that actually is demonstrably in existence, but also not

   11    demonstratively not in existence.       I mean, that is where we

   12    are.

   13              MR. MEBANE:    Your Honor, let's assume they keep these

   14    logs, that the email from the ship, from the assistant

   15    housekeeping manager was right, they keep logs, and after six

   16    months they don't keep them anymore.        There is no reason to

   17    keep them around.     They are bathroom logs.      Six months is gone.

   18    In this case we don't have it.       I can't produce it at trial.        I

   19    don't believe that Judge Smith would allow me to elicit

   20    testimony to say, well, we have logs and I will bet they say

   21    that it was checked.

   22              THE COURT:    I agree with you.     And you know what?     I

   23    think that that's where we would be had we not at this point

   24    pulled back the curtain and discovered that Carnival has made a

   25    mockery of its obligation to investigate the discovery and the
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    1    position that it took in sworn corporate representative

    2    testimony.   We are not there, Mr. Mebane.       We are not at, all

    3    things being equal, there was a log, it doesn't exist, and so

    4    you can't use it to your advantage.

    5              We are at a place where you did use it at your

    6    advantage.   You swore to evidence.      I assume these were

    7    verified.    By whom, I don't know.     But you took a position that

    8    on the date of the incident, the bathroom was cleaned every 10

    9    to 15 minutes and you identified a log as the basis for this

   10    knowledge.

   11              I know at this point I'm just starting to repeat

   12    myself, but I will tell you why.       I am debating, particularly

   13    in light of the continuance, seeking from you post-hearing

   14    briefing because what I have heard warrants significant

   15    sanctions.   And I don't want to make that recommendation

   16    without forwarding you an opportunity, a full and complete

   17    opportunity, to be heard on it.

   18              MR. MEBANE:    Well, and I appreciate that, Judge.

   19              THE COURT:    I will tell you from my perspective that

   20    the candid testimony that the first time a lawyer was involved

   21    was after the opposition to the motion for spoliation was filed

   22    is unnerving.    That's the first time an in-house counsel for

   23    Carnival was told that there was a motion pending in federal

   24    court that accused it of destroying evidence that once existed.

   25    I mean, I don't know, I don't even know where to put that.
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    1              MR. MEBANE:    Well, Your Honor, I believe Ms. Borcegue

    2    to her knowledge, just the past couple of days was the first

    3    time that she was aware that Ms. Vazquez was involved in this

    4    particular issue.     I don't know that that's exactly the case.

    5              THE COURT:    Do you know that it is otherwise?

    6              MR. MEBANE:    Your Honor, if a motion for sanctions is

    7    filed against one of my clients, we tell them immediately.           I

    8    can't go back and pull an email for you, but I'm sure that this

    9    is not something that we keep clients in the dark on.

   10              THE COURT:    I'm not a hundred percent sure whether

   11    that's better or worse, because knowing the motion was filed,

   12    it still took Ms. Borcegue to send an email on Friday to get a

   13    response on which you have relied, again, in federal court and

   14    filed a sworn affidavit that the documents don't exist.           And,

   15    again, it's not even based on competent testimony.          I mean, it

   16    doesn't even prove what it sets out to prove.

   17              Carnival is not taking this seriously, and it's very

   18    problematic.    But, you know, and it's like I said, it's not

   19    some peripheral issue.     Carnival interjected the bathroom logs

   20    into the heart of its defense.       That is the crux of the

   21    plaintiff's case, did you know or not know.

   22              So I have -- I actually don't see another way around

   23    it.   Considering the seriousness of what has occurred here, I

   24    don't see any way forward but to afford you an opportunity to

   25    respond in writing why Carnival should not be held in contempt
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    1    for this.

    2               MR. MEBANE:    We will be glad to respond, Your Honor,

    3    and we will be glad to do so whenever the Court wants us to do

    4    it.

    5               THE COURT:    I think we are going to set a briefing

    6    schedule and figure out what the right remedy is.          I hear

    7    Mr. Gerson when he says that the element of notice should be

    8    established, considering what went into Carnival taking the

    9    position that it lacked actual notice or constructive notice

   10    here, really actual, I don't see why that wouldn't be exactly

   11    the appropriate sanction.       But I will keep an open mind and

   12    reserve that ruling obviously until you have had a chance to

   13    respond.

   14               MR. MEBANE:    Well, I appreciate that.     I know Carnival

   15    does as well.

   16               THE COURT:    How much time do you want?

   17               MR. MEBANE:    If you are just looking for a response

   18    from us as opposed to something from plaintiff --

   19               THE COURT:    No.   I would afford both sides an

   20    opportunity to at least to be heard.

   21               My inclination, and I'm going to hear from Mr. Gerson

   22    in a second, is to ask you for a written response.          And then

   23    depending on how much more paperwork Mr. Gerson wants to file,

   24    to either then set it down for another hearing, or if he wants

   25    to file something.      But let me hear first from you how much
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    1    time you need.

    2              MR. MEBANE:    If we could have until Friday of next

    3    week, so I think that would be nine days perhaps.

    4              THE COURT:    The 20th.    That is perfectly fine with me.

    5    You are set in the middle of October, right?

    6              MR. MEBANE:    I think it just got moved to the 28th,

    7    somewhere to the last week of October.

    8              THE COURT:    Yes.   All right.

    9              MR. MEBANE:    And I guess we are up in Fort Lauderdale.

   10              THE COURT:    You are.    Fanciest courthouse in the

   11    district.   So the 20th is fine with me if that's the date that

   12    you want.

   13              Now, Mr. Gerson, let me ask you -- and let me be

   14    specific that evidence on which you rely in your response must

   15    be filed and attached --

   16              MR. MEBANE:    Of course.

   17              THE COURT:    -- so that both Mr. Gerson and I have an

   18    opportunity to see it in advance of the hearing, please.

   19              MR. MEBANE:    Absolutely.

   20              THE COURT:    I would also, I don't know if it's suggest

   21    or request that witness statements that are provided set forth

   22    a basis for their knowledge so that if nothing else, we have

   23    the ability to decide if an evidentiary hearing is later

   24    conducted, the need to inquire of specific witnesses.

   25              MR. MEBANE:    Of course.
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    1              THE COURT:    Thank you.

    2              Mr. Gerson, do you want to respond in writing or just

    3    wait for a hearing?     What is your pleasure?

    4              MR. PHILIP GERSON:     I will respond in writing within a

    5    week if that is acceptable to the Court.

    6              THE COURT:    I think it's an important issue.       I don't

    7    want to rush you.     Let me be careful to say that I truly do not

    8    forecast what recommendation I will ultimately make to Judge

    9    Smith.   As I sit here, I keep an open mind.        I don't think that

   10    you have had an opportunity to present all the evidence that

   11    would be relevant, nor has Mr. Gerson had an opportunity to

   12    challenge all the evidence that you would rely on.          So I do not

   13    mean to push you to file something without an opportunity to

   14    fully investigate it.

   15              So if your intention, Mr. Mebane, is to file on the

   16    20th and, Mr. Gerson, you want to respond on the 27th, I ask

   17    only again that whatever evidence you are relying on, please

   18    attach thereto so that I can review it beforehand.

   19              My inclination is to give you a hearing date, that we

   20    come back together either the first or second week of October.

   21    Depending on the position that the parties take on the papers,

   22    we may ultimately decide a hearing is not necessary, but I

   23    would like to set that hearing date now when I have you and

   24    hopefully your cell phones which reflect calendars.

   25              I have nothing set those weeks somehow unless this
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    1    calendar is not updating, so you can advance a date that you

    2    prefer that first or second week.

    3              Never mind.    The second week is completely unavailable

    4    for that.   But the week after your briefing would come ripe,

    5    you could have Monday through Friday at your option.          Do you

    6    want to confer and send us an email with your preferred date?

    7              MR. MEBANE:    That might be best just because I don't

    8    necessarily trust what goes on my phone versus the one at the

    9    office.

   10              THE COURT:    Okay.   Confer and, likewise, with your

   11    witnesses so once we have a date set, it doesn't have to be

   12    moved because of witness unavailability.

   13              MR. MEBANE:    That would be the first week of October?

   14              THE COURT:    First week of October, I think it begins

   15    with the 30th, so through Friday, the 4th.         Confer and I would

   16    anticipate putting aside three hours.

   17              MR. PHILIP GERSON:     Your Honor, the only -- first of

   18    all, it's our preference to have this done sooner rather than

   19    later because it may be reviewed by the judge, the district

   20    judge, and what the ruling is will drive how we prepare for

   21    trial.

   22              THE COURT:    I would assume it.     Do you mean you prefer

   23    to have it Monday versus Friday?

   24              MR. PHILIP GERSON:     Well, the Jewish holidays are, I

   25    think, on the 29th and the 30th.
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    1              THE COURT:    Yom Kippur is on the 9th, I know.        And I

    2    think you're right.     I think Rosh Hashana is on the 28th.

    3              MR. PHILIP GERSON:     So I could respond sooner than

    4    seven days, and perhaps hold a hearing by no later than the

    5    27th.

    6              THE COURT:    Okay.   So confer with counsel because both

    7    of those two weeks I have tremendous flexibility.          Like you, I

    8    prefer not to have it on Rosh Hashanah, but I think that's

    9    actually over the weekend so we should be fine.

   10              Please just confer.     Send me an email back when you

   11    have a date that you both agree on for the hearing.          As I have

   12    indicated, if the papers reveal that there's not something that

   13    we need to flesh out at the hearing, I will just enter a report

   14    and recommendation.     But I would prefer to have a date set so

   15    that we are not scrambling for one.        Okay?   Is there anything

   16    further at this point?

   17              MR. PHILIP GERSON:     No, Your Honor.

   18              MR. MEBANE:    No, Your Honor.

   19              THE COURT:    Okay.   Thank you.    We will be adjourned.

   20              (Thereupon, the hearing concluded at 4:12 p.m.)

   21                                     - - -

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                                 C E R T I F I C A T E



                     I hereby certify that the foregoing is an

         accurate transcription of the proceedings in the

         above-entitled matter.




         9/18/19                    s/ Tammy Nestor
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                                    Miami, Florida 33128
                                    tammy_nestor@flsd.uscourts
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     MR. MEBANE: [109] 3/12                                                                      800 [1] 1/19
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     MR. NICHOLAS GERSON:
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     MR. PHILIP GERSON: [65]
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